                Case 19-05018-dd                  Doc 1        Filed 09/24/19 Entered 09/24/19 14:19:17                                Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF SOUTH CAROLINA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Scott
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Thomas
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Satterfield
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-5763
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
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Debtor 1   Scott Thomas Satterfield                                                                   Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and     I have not used any business name or EINs.
     Employer Identification
     Numbers (EIN) you have DBA Jewelry Warehouse, Inc.
     used in the last 8 years DBA Jewelry Warehouse
                                 DBA Satterfield's Jewelry Warehouse, Inc.
                                 DBA Garnet & Black Traditions
                                 DBA Tiger Paw Traditions at Jewelry
                                 Warehouse
                                                                                                  I have not used any business name or EINs.
                                 DBA Satterfields Jewelers
                                 DBA Traditions Media
     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 238 Mineral Springs Circle
                                 Lexington, SC 29073-8167
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Lexington
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Scott Thomas Satterfield                                                                      Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Scott Thomas Satterfield                                                                       Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    Scott Thomas Satterfield                                                                   Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    Scott Thomas Satterfield                                                                      Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Scott Thomas Satterfield
                                 Scott Thomas Satterfield                                          Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     September 24, 2019                                Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Scott Thomas Satterfield                                                                       Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Kevin McCarrell                                                Date         September 24, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Kevin McCarrell
                                Printed name

                                Fox Rothschild LLP
                                Firm name

                                2 W. Washington Street
                                Suite 1100
                                Greenville, SC 29601
                                Number, Street, City, State & ZIP Code

                                Contact phone     (864) 751-7600                             Email address         kmccarrell@foxrothschild.com

                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                   Scott Thomas Satterfield
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             165,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              44,832.84

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             209,832.84

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              91,950.94

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $          1,913,335.12

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          2,172,924.50


                                                                                                                                     Your total liabilities $             4,178,210.56


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,165.50

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                3,919.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
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 Debtor 1      Scott Thomas Satterfield                                                   Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                           $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $               0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $       1,913,335.12

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $               0.00

       9d. Student loans. (Copy line 6f.)                                                                 $               0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $               0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$               0.00


       9g. Total. Add lines 9a through 9f.                                                           $          1,913,335.12




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                 Case 19-05018-dd                              Doc 1          Filed 09/24/19 Entered 09/24/19 14:19:17                                      Desc Main
                                                                             Document      Page 10 of 208
 Fill in this information to identify your case and this filing:

 Debtor 1                    Scott Thomas Satterfield
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF SOUTH CAROLINA

 Case number                                                                                                                                                      Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        238 Mineral Springs Circle                                                     Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the        Current value of the
        Lexington                         SC        29073-8167                         Land                                       entire property?            portion you own?
        City                              State              ZIP Code                  Investment property                               $165,000.00                 $165,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Lexington                                                                      Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                       $165,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes



Official Form 106A/B                                                                  Schedule A/B: Property                                                                    page 1
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 Debtor 1       Scott Thomas Satterfield                                                                            Case number (if known)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

      No
      Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                                portion you own?
                                                                                                                                                Do not deduct secured
                                                                                                                                                claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Furniture, appliances, and miscellaneous household goods.                                                                $2,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    TV                                                                                                                         $800.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Tennis Equipment, stationary bike, weights                                                                                 $600.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Daily clothes and shoes.                                                                                                 $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
       Yes. Describe.....
Official Form 106A/B                                                    Schedule A/B: Property                                                                     page 2
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 Debtor 1         Scott Thomas Satterfield                                                                                    Case number (if known)


                                            Gold chain, gold charms, and wedding band.                                                                                $700.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            3 dogs                                                                                                                      $75.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $5,675.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash                                 $200.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:
                                                                                                  First Community Bank
                                                                                                  PO Box 64
                                              17.1.       Checking                                Lexington, SC 29071                                                     $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:




Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 3
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 Debtor 1         Scott Thomas Satterfield                                                                    Case number (if known)

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                          401(k)                            Principal                                                                $37,957.84


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
       Yes. Name the insurance company of each policy and list its value.
                                Company name:                                                        Beneficiary:                          Surrender or refund
Official Form 106A/B                                    Schedule A/B: Property                                                                              page 4
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                                                                                                                                                                value:

                                             Mass Mutual- Term Policy                                                 Shannon Harwell &
                                                                                                                      Michael Sattefield                                            $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................             $38,157.84


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
        Yes. Give specific information.........

                                             TopSpin Racquet Club                                                                                                             $1,000.00


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                 $1,000.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 5
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 Debtor 1         Scott Thomas Satterfield                                                                                              Case number (if known)

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $165,000.00
 56. Part 2: Total vehicles, line 5                                                                                $0.00
 57. Part 3: Total personal and household items, line 15                                                       $5,675.00
 58. Part 4: Total financial assets, line 36                                                                  $38,157.84
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +            $1,000.00

 62. Total personal property. Add lines 56 through 61...                                                      $44,832.84              Copy personal property total            $44,832.84

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $209,832.84




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 6
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 Fill in this information to identify your case:

 Debtor 1                Scott Thomas Satterfield
                         First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      238 Mineral Springs Circle Lexington,                           $165,000.00                                              S.C. Code Ann. §
      SC 29073-8167 Lexington County                                                                                           15-41-30(A)(1)(a)
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Furniture, appliances, and                                        $2,500.00                                $2,475.00     S.C. Code Ann. §
      miscellaneous household goods.                                                                                           15-41-30(A)(3)
      Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      TV                                                                  $800.00                                  $800.00     S.C. Code Ann. §
      Line from Schedule A/B: 7.1                                                                                              15-41-30(A)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Tennis Equipment, stationary bike,                                  $600.00                                  $525.00     S.C. Code Ann. §
      weights                                                                                                                  15-41-30(A)(3)
      Line from Schedule A/B: 9.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Daily clothes and shoes.                                          $1,000.00                                $1,000.00     S.C. Code Ann. §
      Line from Schedule A/B: 11.1                                                                                             15-41-30(A)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Scott Thomas Satterfield                                                                    Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Gold chain, gold charms, and                                        $700.00                                   $700.00        S.C. Code Ann. §
     wedding band.                                                                                                                15-41-30(A)(4)
     Line from Schedule A/B: 12.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     3 dogs                                                               $75.00                                    $75.00        S.C. Code Ann. §
     Line from Schedule A/B: 13.1                                                                                                 15-41-30(A)(3)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                $200.00                                   $200.00        S.C. Code Ann. §
     Line from Schedule A/B: 16.1                                                                                                 15-41-30(A)(7)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: First Community Bank                                         $0.00                                     $0.00       S.C. Code Ann. §
     PO Box 64                                                                                                                    15-41-30(A)(1)(a)
     Lexington, SC 29071                                                                   100% of fair market value, up to
     Line from Schedule A/B: 17.1                                                          any applicable statutory limit

     401(k): Principal                                                 $37,957.84                              $17,799.90         S.C. Code Ann. §
     Line from Schedule A/B: 21.1                                                                                                 15-41-30(A)(13)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Mass Mutual- Term Policy                                               $0.00                                     $0.00       S.C. Code Ann. §
     Beneficiary: Shannon Harwell &                                                                                               15-41-30(A)(8)
     Michael Sattefield                                                                    100% of fair market value, up to
     Line from Schedule A/B: 31.1                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Scott Thomas Satterfield
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     BB&T                                     Describe the property that secures the claim:                 $71,793.00              $165,000.00                     $0.00
         Creditor's Name                          238 Mineral Springs Circle
                                                  Lexington, SC 29073-8167
                                                  Lexington County
                                                  As of the date you file, the claim is: Check all that
         PO Box 580302                            apply.
         Charlotte, NC 28258                          Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   First Mortgage
       community debt

 Date debt was incurred          10/27/2003                Last 4 digits of account number        8243

 2.2     Scott Satterfield                        Describe the property that secures the claim:                 $20,157.94               $37,957.84                     $0.00
         Creditor's Name                          401(k): Principal

                                                  As of the date you file, the claim is: Check all that
                                                  apply.
                                                      Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   401K Loan
       community debt

 Date debt was incurred                                    Last 4 digits of account number



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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 Debtor 1 Scott Thomas Satterfield                                                               Case number (if known)
              First Name                Middle Name                     Last Name




   Add the dollar value of your entries in Column A on this page. Write that number here:                         $91,950.94
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                        $91,950.94

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                     Scott Thomas Satterfield
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
                                                                                                                            $183,819.3
 2.1          Internal Revenue Service                               Last 4 digits of account number       7918                      3                $0.00       $183,819.33
              Priority Creditor's Name
              Centralized Insolvency                                 When was the debt incurred?           2015 & 2016
              Operations
              PO Box 7346
              Philadelphia, PA 19101
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        2015 taxes
                                                                                         2016 taxes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 1 of 100
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 Debtor 1 Scott Thomas Satterfield                                                                         Case number (if known)

            South Carolina Department of                                                                                   $1,729,515.                                  $1,729,515.
 2.2        Revenue                                                  Last 4 digits of account number     5763                       79                    $0.00                  79
            Priority Creditor's Name
            PO Box 12265                                             When was the debt incurred?         2015
            Columbia, SC 29211
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            Sale & Use Taxes
                                                                                           Mixed Taxes
                                                                                           Taxes owed personally and by Jewelry
                                                                                           Warehouse


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        The State                                                  Last 4 digits of account number                                                                          $0.00
            Nonpriority Creditor's Name
            1401 Shop Road                                             When was the debt incurred?
            Columbia, SC 29201
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify   Business debt-No Personal Guaranty




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 4.2      Ace Funding Source, LLC                                     Last 4 digits of account number       7035                                            $16,301.25
          Nonpriority Creditor's Name
          c/o Ariel Bouskila, Esquire                                 When was the debt incurred?           2018
          Berkovitch & Bouskila, PLLC
          40 Exchange Place, Ste 1306
          New York, NY 10005
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Confession of Judgment
              Yes                                                        Other. Specify   Business debt


 4.3      Adrenaline Promotions                                       Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 2214                                                 When was the debt incurred?
          Eureka, MT 59917
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.4      All In                                                      Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          2611 Winding Brook                                          When was the debt incurred?
          Anderson, SC 29621
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.5      Alliance Legal Partners                                     Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          9 Chatelaine                                                When was the debt incurred?
          Newport Coast, CA 92657
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.6      Alumni Association                                          Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 18957                                                When was the debt incurred?
          Asheville, NC 28814
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.7      American Ring Source                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          7855 Kenwood Road                                           When was the debt incurred?
          Cincinnati, OH 45236
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.8      Aminco International                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          20571 Crescent Bay                                          When was the debt incurred?
          Lake Forest, CA 92630
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.9      Argosy Capital Group LLC                                    Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          950 W. Valley Road                                          When was the debt incurred?
          Suite 2900
          Wayne, PA 19087
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 0        Ariel Jewelry Company                                       Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          4940 Merrick Road #304                                      When was the debt incurred?
          Massapequa Park, NY 11762
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 1        Ashi Diamonds Inc.                                          Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          589 Fifth Ave, 6th Floor                                    When was the debt incurred?
          New York, NY 10017
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty.


 4.1
 2        Atlanta Hosiery Company                                     Last 4 digits of account number       1569                                                    $0.00
          Nonpriority Creditor's Name
          c/o Bryn Colette Sarvis                                     When was the debt incurred?           2015
          3347-B Augusta Hwy
          Gilbert, SC 29054
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 3        AXIS Capital, Inc.                                          Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 2555                                                 When was the debt incurred?
          Grand Island, NE 68802
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 4        Baden Sports Inc.                                           Last 4 digits of account number       4886                                                    $0.00
          Nonpriority Creditor's Name
          34114 21st Ave South                                        When was the debt incurred?
          Federal Way, WA 98003
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 5        Badger Sportswear, Inc.                                     Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 890011                                               When was the debt incurred?
          Charlotte, NC 28289
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 6        Baker, Dennis                                               Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          2 Arrow Lake Road                                           When was the debt incurred?
          West Columbia, SC 29170
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor




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 4.1
 7        Bakins Ventures, LLC                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1638 Kinsmon Lane                                           When was the debt incurred?
          Marietta, GA 30062
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 8        Becker, Michael                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          3453 Heather Drive                                          When was the debt incurred?
          York, PA 17408
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor


 4.1
 9        Benchmark                                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          Drawer 2929                                                 When was the debt incurred?
          Tuscaloosa, AL 35403
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.2
 0        Bethel International                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          4610 Bragg Blvd                                             When was the debt incurred?
          Fayetteville, NC 28303
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 1        Big Jewelry                                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          115 West 30th Street, 8th Floor                             When was the debt incurred?
          New York, NY 10001
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2      Branch Banking & Trust Company
 2        FKA BB&T                                                    Last 4 digits of account number       3354                                                    $0.00
          Nonpriority Creditor's Name
          c/o Jerry Myers                                             When was the debt incurred?           2019
          Po Box 176010
          Raleigh, NC 27619
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guranty




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 4.2
 3        Brett Hand, Inc.                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          19399 Helenberg Road                                        When was the debt incurred?
          Covington, LA 70433
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 4        Brice Caldwell, Inc.                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1888 Main Street, Suite C #101                              When was the debt incurred?
          Madison, MS 39110
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 5        Brittingham Group, LLP                                      Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          50 State Street                                             When was the debt incurred?
          West Columbia, SC 29169
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty




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 4.2
 6        Brown, Jeffrey                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          3209 SW 137 Court                                           When was the debt incurred?
          Oklahoma City, OK 73170
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor


 4.2
 7        C.G. Creations                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 1001                                                 When was the debt incurred?
          Pearl River, NY 10965
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 8        Capital Advance Services, LLC                               Last 4 digits of account number                                                       $74,950.00
          Nonpriority Creditor's Name
          One Evertrust Plaza, Suite 1401                             When was the debt incurred?           2018
          Jersey City, NJ 07302
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Confession of Judgment




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 4.2
 9        Capital Marketing Concepts                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          696 1st Ave N                                               When was the debt incurred?
          Saint Petersburg, FL 33701
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty


 4.3
 0        Capital Merchant Services, LLC                              Last 4 digits of account number                                                      $449,700.00
          Nonpriority Creditor's Name
          116 Nassau Street, Suite 804                                When was the debt incurred?           2018
          New York, NY 10038
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Confession of Judgment


 4.3
 1        Capital One                                                 Last 4 digits of account number       1270                                                    $0.00
          Nonpriority Creditor's Name
          PO Box 71083                                                When was the debt incurred?           2018
          Charlotte, NC 28272
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card Charges.




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 4.3
 2        Cargo Hold, Inc.                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 239                                                  When was the debt incurred?
          Charleston, SC 29402
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.3
 3        Carolina Fin                                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          930 Battenkill Court                                        When was the debt incurred?
          Lexington, SC 29072
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.3
 4        Carolina Retail Packaging, Inc.                             Last 4 digits of account number       1833                                              $4,308.50
          Nonpriority Creditor's Name
          c/o Scott Mange                                             When was the debt incurred?           2018
          PO Box 743
          White Rock, SC 29177
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt




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 4.3
 5        CB Indigo                                                   Last 4 digits of account number       4334                                                 $375.66
          Nonpriority Creditor's Name
          PO Box 4499                                                 When was the debt incurred?           2018
          Beaverton, OR 97076-4000
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card Charges


 4.3
 6        Chem Art                                                    Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 845041                                               When was the debt incurred?
          Boston, MA 02284
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.3
 7        China Pearl                                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          10220 Norris Ave                                            When was the debt incurred?
          Pacoima, CA 91331
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.3
 8        Church Hill Classics                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          594 Pepper Street                                           When was the debt incurred?
          Monroe, CT 06468
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.3
 9        Citi Cards                                                  Last 4 digits of account number       3425                                            $13,710.20
          Nonpriority Creditor's Name
          PO Box 70166                                                When was the debt incurred?           2014
          Philadelphia, PA 19176
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card Charges.


 4.4
 0        Citizens Watch Company                                      Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1000 West 190th Street                                      When was the debt incurred?
          Torrance, CA 90502
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.4
 1        Classic Imports, Inc.                                       Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          32 West 39th Street                                         When was the debt incurred?
          New York, NY 10018
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.4
 2        Clemson Sports Properties                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          IMG-Learfield                                               When was the debt incurred?
          2400 Dallas Parkway, Suite 500
          Plano, TX 75093
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty


 4.4
 3        Coast Apparel, LLC                                          Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 9324                                                 When was the debt incurred?
          Greenville, SC 29604
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.4
 4        Coastal Waters, LLC                                         Last 4 digits of account number       1CVK                                                    $0.00
          Nonpriority Creditor's Name
          c/o Charles W. Winfield                                     When was the debt incurred?
          Perry & Winfield, PA
          PO Box 80281
          Starkville, MS 39759
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.4
 5        College Covers                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 336                                                  When was the debt incurred?
          Hartington, NE 68739
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.4
 6        Collegiate Enterprises                                      Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 682                                                  When was the debt incurred?
          North Myrtle Beach, SC 29597
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.4
 7        Collegiate Kids Books, LLC                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          3956 2nd Street Drive NW                                    When was the debt incurred?
          Hickory, NC 28601
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.4
 8        Color Craft                                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          45 West 45th Street, 10th Floor                             When was the debt incurred?
          New York, NY 10036
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.4      Columbia Sportswear Company,
 9        Inc.                                                        Last 4 digits of account number       0316                                                    $0.00
          Nonpriority Creditor's Name
          c/o Amanda M . Scott                                        When was the debt incurred?           2009
          PO Box 743
          White Rock, SC 29177
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.5
 0        Coserv                                                      Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 100879                                               When was the debt incurred?
          Atlanta, GA 30384
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   PO Box 935641


 4.5
 1        CRAFTIQUE                                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 4422                                                 When was the debt incurred?
          Chattanooga, TN 37405
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.5      Creative Realities/Wireless Ronin
 2        Tech                                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          22 Audrey Pl                                                When was the debt incurred?
          Georgetown, SC 29440
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.5      CT Corporation Systems, as
 3        Represenative                                               Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          330 N. Brand Blvd Ste 700                                   When was the debt incurred?           2015
          Glendale, CA 91203
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guranty


 4.5
 4        Cumulus                                                     Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1301 Gervais St                                             When was the debt incurred?
          Columbia, SC 29201
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty


 4.5
 5        Custom Branded Sportswear                                   Last 4 digits of account number       1858                                                    $0.00
          Nonpriority Creditor's Name
          c/o Wylie Clarkson                                          When was the debt incurred?           2017
          PO Box 287
          Columbia, SC 29202
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.5
 6        Custom Decor                                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 336                                                  When was the debt incurred?
          Cheswold, DE 19936
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.5
 7        Cutter & Buck                                               Last 4 digits of account number       1116                                                    $0.00
          Nonpriority Creditor's Name
          c/o Cynthia Marie Lover                                     When was the debt incurred?           2017
          PO Box 6774
          Myrtle Beach, SC 29572
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.5
 8        Daily Gamecock                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1400 Greene Street                                          When was the debt incurred?
          Columbia, SC 29208
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty




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 4.5
 9        Darling Imports                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 564                                                  When was the debt incurred?
          Hampton, GA 30228
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.6
 0        Data Spring                                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          56 Parkway Commons Way                                      When was the debt incurred?
          Greer, SC 29650
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty


 4.6
 1        Dayna Designs, LLC                                          Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 2307                                                 When was the debt incurred?
          Rockville, MD 20847
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.6
 2        DDRTC Columbiana Station II LLC                             Last 4 digits of account number       2309                                            $55,100.31
          Nonpriority Creditor's Name
          c/o W. Cliff Moore, III                                     When was the debt incurred?           2016
          PO Box 2285
          Columbia, SC 29202
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Judgment Business debt


 4.6
 3        Diamond Counsel of America                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          120 Broadway                                                When was the debt incurred?
          New York, NY 10271
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.6      Diamond Graphics, LLC/Marie
 4        Clayborne                                                   Last 4 digits of account number       0025                                              $6,628.76
          Nonpriority Creditor's Name
          611 Longs Pond Road                                         When was the debt incurred?           2016
          Lexington, SC 29073
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Judgment




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 4.6
 5        Disbrow, Tom                                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          4048 Florentine Road                                        When was the debt incurred?
          West Columbia, SC 29170
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor


 4.6
 6        Discover Bank                                               Last 4 digits of account number       6771                                              $8,625.00
          Nonpriority Creditor's Name
          PO Box 15316                                                When was the debt incurred?           2014
          Wilmington, DE 19850-5000
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit card charges


 4.6
 7        Distinctive Homeworks, LLC                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          342 Amstar Road                                             When was the debt incurred?
          Columbia, SC 29212
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.6
 8        Divine Creations, Inc                                       Last 4 digits of account number       4272                                                    $0.00
          Nonpriority Creditor's Name
          c/o Amanda M. Scott                                         When was the debt incurred?           2017
          PO Box 743
          White Rock, SC 29177
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.6
 9        Donovan, John                                               Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          347 Clermont Lake Drive                                     When was the debt incurred?
          Lexington, SC 29073
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor


 4.7
 0        Duplicating Products                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          150 Loft CT                                                 When was the debt incurred?
          West Columbia, SC 29169
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty.




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 4.7
 1        E5                                                          Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          File #50516                                                 When was the debt incurred?
          Los Angeles, CA 90074
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty


 4.7
 2        East Bay Air LLC                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          Dixon Hughes PLLC                                           When was the debt incurred?
          525 East Bay Street
          Charleston, SC 29403
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt


 4.7
 3        Edible Arrangements                                         Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1788 South Lake Drive                                       When was the debt incurred?
          Suite 170
          Lexington, SC 29073
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.7
 4        Elektroplate                                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          5510 Abrams Road                                            When was the debt incurred?
          Dallas, TX 75214
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.7
 5        EMA Jewelry, Inc.                                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          246 W. 38th Street                                          When was the debt incurred?
          Suite 600
          New York, NY 10018
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt


 4.7
 6        ESP Receivables Management                                  Last 4 digits of account number       1601                                                    $0.00
          Nonpriority Creditor's Name
          2346 Wisteria Drive, Suite 220                              When was the debt incurred?           2017
          Snellville, GA 30078
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.7
 7        EVC, Inc. Cozy Cover                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          2306 E. Superior Street                                     When was the debt incurred?
          Duluth, MN 55812
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.7
 8        Evergreen                                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          7110 Wrightsville Ave                                       When was the debt incurred?
          Wilmington, NC 28403
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.7
 9        Fanz Zone                                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          13100 Hwy 144E #236                                         When was the debt incurred?
          Richmond Hill, GA 31324
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.8
 0        FBF Originals                                               Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1201 S. Ohio Street                                         When was the debt incurred?
          Martinsville, IN 46151
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.8
 1        FedEx                                                       Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          150 Queens Parkway                                          When was the debt incurred?
          West Columbia, SC 29169
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty


 4.8
 2        Flirties                                                    Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          2219 CR 220 Suite 316                                       When was the debt incurred?
          Middleburg, FL 32068
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.8
 3        Fox Rothschild LLP                                          Last 4 digits of account number                                                       $20,783.03
          Nonpriority Creditor's Name
          2 West Washington Street                                    When was the debt incurred?
          Suite 1100
          Greenville, SC 29601
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify


 4.8
 4        Freaker USA, Inc.                                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1121 S. Front Street                                        When was the debt incurred?
          Wilmington, NC 28401
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.8
 5        From The Heart Enterprises                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          2374 West New Orleans Street                                When was the debt incurred?
          Broken Arrow, OK 74011
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.8
 6        Gabriel Brothers                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          545 West 45th Street, 3rd Floor                             When was the debt incurred?
          New York, NY 10036
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.8
 7        Game Wear                                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          70 Hudson Street                                            When was the debt incurred?
          Second Floor
          Hoboken, NJ 07030
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.8
 8        Gamecock Central                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1542 Sterling Oaks Drive                                    When was the debt incurred?
          Moncks Corner, SC 29461
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty




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 4.8
 9        Gameday Ironworks                                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          8821 W. 6th Street                                          When was the debt incurred?
          Stillwater, OK 74074
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.9
 0        Garrison, Nicolas                                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          12 S Cherry Hills                                           When was the debt incurred?
          Edwardsville, IL 62025
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor


 4.9
 1        Gear for Sports, Inc.                                       Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          9700 Commerce Parkway                                       When was the debt incurred?
          Lenexa, KS 66219
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.9
 2        Gems One Corporation                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          16 W 46th Street                                            When was the debt incurred?           2016
          6th Floor
          New York, NY 10036
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt


 4.9
 3        Glik Imports                                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1255 Phillips Square                                        When was the debt incurred?
          Suite 906
          Montreal, QC H3B 3G1
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty


 4.9
 4        Global Brand Group/KHQ Branded                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          350 5th Avenue                                              When was the debt incurred?
          9th Floor
          New York, NY 10118
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.9      Global Fashion Works, LLC/ Flying
 5        Colors                                                      Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          795 Cronwell Park Drive                                     When was the debt incurred?
          Suite B
          Glen Burnie, MD 21061
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.9
 6        Gold Lance                                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          Attn: Rhonda Chester                                        When was the debt incurred?
          21338 Newtwork Place
          Chicago, IL 60673
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.9
 7        Greene, David                                               Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          2811 Holt Drive                                             When was the debt incurred?
          Florence, SC 29505
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor




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 4.9
 8        Greenville News                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 677566                                               When was the debt incurred?
          Dallas, TX 75267
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.9
 9        GRI-EQY (Sparkleberry Square) LLC                           Last 4 digits of account number       2581                                                    $0.00
          Nonpriority Creditor's Name
          c/o Thomas W. Bunch, II                                     When was the debt incurred?           2017
          141 Palham Drive, Suite F
          Columbia, SC 29209
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 00       Hadley-Roma                                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 1130                                                 When was the debt incurred?
          Largo, FL 33779
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 01       Harwell, Shannon                                            Last 4 digits of account number                                                       $60,422.14
          Nonpriority Creditor's Name
          143 Torrey Glenn Drive                                      When was the debt incurred?           2018 & 2019
          Lexington, SC 29072
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Loan


 4.1
 02       Hedstrom Plastics                                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 951924                                               When was the debt incurred?
          Cleveland, OH 44193
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 03       Herald Office Systems                                       Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          90 N. Shorecrest Road #A                                    When was the debt incurred?
          Columbia, SC 29209
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty




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 4.1
 04       Heritage Landscape Services                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          141 Peachtree Street                                        When was the debt incurred?
          Gilbert, SC 29054
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty


 4.1
 05       Highland Graphics, Inc.                                     Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 809209                                               When was the debt incurred?
          Chicago, IL 60680
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 06       Hudson Jewelry MFG Co.                                      Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 1398                                                 When was the debt incurred?
          Chilhowie, VA 24319
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 07       Icon Outdoors LLC                                           Last 4 digits of account number       2639                                                    $0.00
          Nonpriority Creditor's Name
          c/o Cynthia Marie Lover                                     When was the debt incurred?           2017
          PO Box 6774
          Myrtle Beach, SC 29572
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 08       IDD USA LLC                                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          535 5th Ave Floor 20                                        When was the debt incurred?           2016
          New York, NY 10017
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt


 4.1
 09       IHeart Media                                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          316 Greystone Blvd.                                         When was the debt incurred?
          Columbia, SC 29210
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty




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 Debtor 1 Scott Thomas Satterfield                                                                        Case number (if known)

 4.1
 10       Image One                                                   Last 4 digits of account number       2314                                                    $0.00
          Nonpriority Creditor's Name
          2201 Brookwood Drive                                        When was the debt incurred?
          Suite 112
          Little Rock, AR 72202
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 11       Imperial- Deltah, Inc.                                      Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          795 Waterman Ave                                            When was the debt incurred?
          East Providence, RI 02914
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 12       Influx Capital LLC                                          Last 4 digits of account number                                                      $299,800.00
          Nonpriority Creditor's Name
          32 Court Street, Suite 205                                  When was the debt incurred?           2018
          Brooklyn, NY 11201
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Confession of Judgment




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 4.1
 13       Innovative Adhesives, LLC                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 1719                                                 When was the debt incurred?
          Cary, NC 27512
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 14       Interings, Inc.                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          450 7th Ave. Suite 1906                                     When was the debt incurred?
          New York, NY 10123
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 15       International Diamond Distributors                          Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          535 Fifth Ave, 20th Floor                                   When was the debt incurred?
          New York, NY 10017
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 16       International Import Corp.                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          20 West 47th Street #808                                    When was the debt incurred?
          New York, NY 10036
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 17       IPG Independant Publishers Group                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          814 North Franklin Street                                   When was the debt incurred?
          Chicago, IL 60610
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 18       Iron Mountain                                               Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 27128                                                When was the debt incurred?
          New York, NY 10087
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 19       J.R. Fallaw Mechanical Services                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          521 Isiah Hall Road                                         When was the debt incurred?
          Gilbert, SC 29054
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty


 4.1
 20       James Hagen Dist. Co                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 730356                                               When was the debt incurred?
          Ormond Beach, FL 32173
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 21       Jardine Associates, LLC                                     Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          200 Compass Circle                                          When was the debt incurred?
          North Kingstown, RI 02852
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 22       Jaycee Merchandising, LLC                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          5210 Long Prairie # 322                                     When was the debt incurred?
          Flower Mound, TX 75028
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 23       Jayden Star, LLC                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          385 Fifth Ave                                               When was the debt incurred?
          Suite 507
          New York, NY 10016
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 24       Jewelers Board of Trade                                     Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          95 Jefferson Blvd                                           When was the debt incurred?
          Warwick, RI 02888
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty




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 4.1
 25       Juba, Robert                                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          527 Mattamushkeet Drive                                     When was the debt incurred?
          Little River, SC 29566
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor


 4.1
 26       Kellee Designs                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          2611 N Center Street                                        When was the debt incurred?
          Hickory, NC 28601
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 27       Kencraft, Inc.                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          708 S. Utah Valley Drive                                    When was the debt incurred?
          American Fork, UT 84003
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 28       Kent Porth Nature Photography                               Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          107-B Vista Oaks Drive                                      When was the debt incurred?
          Lexington, SC 29072
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 29       Kim International                                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          14841 Landmark Blvd. Suite 200                              When was the debt incurred?
          Dallas, TX 75240
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 30       Knight, Marilyn                                             Last 4 digits of account number                                                       $43,486.00
          Nonpriority Creditor's Name
          137 Robin Roost Lane                                        When was the debt incurred?           2018 & 2019
          Gaston, SC 29053
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Loan




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 4.1
 31       Kolb, Louis                                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          430 Greengarden Drive                                       When was the debt incurred?
          Chapin, SC 29036
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor


 4.1
 32       Krantz Kooling & Heating                                    Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1612 Anthony Drive West                                     When was the debt incurred?
          West Columbia, SC 29172
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty


 4.1
 33       LaFosse, Adrian                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          12558 Ashland Drive                                         When was the debt incurred?
          Columbia, SC 29229
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor




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 4.1
 34       Lakeshirts, Inc.                                            Last 4 digits of account number       1126                                            $39,263.83
          Nonpriority Creditor's Name
          c/o Heather Koering                                         When was the debt incurred?           2019
          4200 Country Road 42 West
          Savage, MN 55378
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt


 4.1
 35       Lakeshirts, Inc.                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 1906                                                 When was the debt incurred?
          Detroit Lakes, MN 56502
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 36       Lashbrook                                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 90                                                   When was the debt incurred?
          Salt Lake City, UT 84110
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 37       Le VIAN Corp.                                               Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          235 Great Neck Road                                         When was the debt incurred?           2012
          Great Neck, NY 11021
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt


 4.1
 38       Leading Jewelers Guild, Inc.                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 4220                                                 When was the debt incurred?
          Culver City, CA 90231
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 39       Learfield Communications, Inc                               Last 4 digits of account number       0505                                                    $0.00
          Nonpriority Creditor's Name
          c/o Amanda M. Scott                                         When was the debt incurred?           2017
          PO Box 743
          White Rock, SC 29177
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 40       Little King Mfg. Co. Inc.                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          11705 Hwy 231                                               When was the debt incurred?
          Union Grove, AL 35175
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 41       Litton, Kirk                                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          313 Crickentree Drive                                       When was the debt incurred?
          Blythewood, SC 29016
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor


 4.1
 42       Logo Chair Company                                          Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          117 Southeast Parkway                                       When was the debt incurred?
          Franklin, TN 37064
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 43       Loudmouth Golf, LLC                                         Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          7512 Dr. Phillips Blvd # 50879                              When was the debt incurred?
          Orlando, FL 32819
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 44       Low Cost Luxury                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          7500 Bellaire Blvd                                          When was the debt incurred?
          Houston, TX 77036
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 45       Lucas, Kevin                                                Last 4 digits of account number                                                       $22,829.50
          Nonpriority Creditor's Name
          2231 NW Broad Street                                        When was the debt incurred?           2018 & 2019
          Suite F
          Murfreesboro, TN 37129
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Loan




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 4.1
 46       M. Schamroth & Sons                                         Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          580 Fifth Ave, Suite 2304                                   When was the debt incurred?
          New York, NY 10036
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 47       MAC Gases, Inc.                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          101 Bombay Drive                                            When was the debt incurred?
          Columbia, SC 29209
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty


 4.1
 48       Magnolia Lane                                               Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1920 Woodlands Industrial Drive                             When was the debt incurred?
          Trussville, AL 35173
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 49       Marathon Company                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 2097                                                 When was the debt incurred?
          Attleboro, MA 02703
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 50       Marlin Business Bank                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          2795 E Cottonwood Parkway                                   When was the debt incurred?           2013
          Salt Lake City, UT 84121
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt


 4.1
 51       Marlin Leasing                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          300 Fellowship Road                                         When was the debt incurred?
          Mount Laurel, NJ 08054-1201
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty




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 4.1
 52       Maryland Brand Management, Inc.                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1801 Portal Street                                          When was the debt incurred?
          Baltimore, MD 21224
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 53       Mascot Books                                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          620 Herndon Parkway                                         When was the debt incurred?
          #320
          Herndon, VA 20170
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 54       Masik Collegiate Fragrances LLC                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1010 Northern Blvd                                          When was the debt incurred?
          Great Neck, NY 11021
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 55       McCathern, Jack Jr.                                         Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          640 Wise Ferry Road                                         When was the debt incurred?
          Lexington, SC 29072
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor


 4.1
 56       Memory Company                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          DBA Collegiate Collectables                                 When was the debt incurred?
          PO Box 610
          Phenix City, AL 36868
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 57       Merchant Advance                                            Last 4 digits of account number       8494                                                    $0.00
          Nonpriority Creditor's Name
          c/o Ariel Bouskila, Esquire                                 When was the debt incurred?           2018
          Berkovitch & Bouskila, PLLC
          40 Exchange Place, Suite 1306
          New York, NY 10005
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 58       Mercury Card/FB&T                                           Last 4 digits of account number       9733                                              $1,042.87
          Nonpriority Creditor's Name
          Card Services                                               When was the debt incurred?           5232220006512014
          84064
          Columbus, GA 31908
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Credit Card Charges.


 4.1
 59       Metal Marketplace I, Inc.                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          718 Sansom Street                                           When was the debt incurred?           2016
          Philadelphia, PA 19106
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt


 4.1
 60       Mid-Carolina Electric Cooperative                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          7524 Broad River Road                                       When was the debt incurred?
          Irmo, SC 29063
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty




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 4.1
 61       Midas Chain, Inc                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          151 Veterans Drive                                          When was the debt incurred?
          Northvale, NJ 07647
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 62       Mohan's Inc.                                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          4062 Peachtree Road, Suite A-113                            When was the debt incurred?
          Atlanta, GA 30319
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 63       Mud Pie, LLC                                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          4893 Lewis Road, STE A                                      When was the debt incurred?
          Stone Mountain, GA 30083
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 64       Musco, Joseph                                               Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          66 Oak Farm Drive                                           When was the debt incurred?
          Colchester, CT 06415
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor


 4.1
 65       National Jewelry Co. Inc.                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          101 Reynolds Drive                                          When was the debt incurred?
          Ruston, LA 71273
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 66       Native Sun Sports                                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          4590 62nd Ave N                                             When was the debt incurred?
          Pinellas Park, FL 33781
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 67       Ned Strauss & Associates                                    Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          505 Timbertrail Court                                       When was the debt incurred?
          Columbia, SC 29212
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 68       Neil Enterprises, Inc.                                      Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          3500 Lacy Road, Suite 220                                   When was the debt incurred?
          Downers Grove, IL 60515
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 69       Neves Industries, LLC                                       Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          24229 Tullamore Drive                                       When was the debt incurred?
          Daphne, AL 36526
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 70       New World Graphics                                          Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          145 Coile Drive                                             When was the debt incurred?
          Athens, GA 30606
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 71       Nexsen Pruet, LLC                                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1200 Main Street                                            When was the debt incurred?
          Columbia, SC 29201
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty


 4.1
 72       Nike USA Inc                                                Last 4 digits of account number       2623                                           $102,733.04
          Nonpriority Creditor's Name
          c/o Amanda Scott                                            When was the debt incurred?           2017
          PO Box 743
          White Rock, SC 29177
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt/personal guaranty




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 4.1
 73       Noble Gift Packing                                          Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          141 Lanza Ave, Blvd. #5                                     When was the debt incurred?
          Garfield, NJ 07026
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 74       Oakley, Inc.                                                Last 4 digits of account number       4008                                                    $0.00
          Nonpriority Creditor's Name
          c/o Amanda M. Scott                                         When was the debt incurred?           20147
          PO Box 743
          White Rock, SC 29177
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 75       OUIBY, Inc.                                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1719 Apline Ave                                             When was the debt incurred?           2016
          Boulder, CO 80304
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt




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 4.1
 76       Overnight Mountings                                         Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          88758 Expedite Way                                          When was the debt incurred?
          Chicago, IL 60695
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1      Pacific and Southern, LLC dba
 77       WLTX TV                                                     Last 4 digits of account number       1272                                                    $0.00
          Nonpriority Creditor's Name
          c/o Wylie Clarkson                                          When was the debt incurred?           2017
          PO Box 287
          Columbia, SC 29202
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Judgment against JW/ No Personal Guranty


 4.1
 78       Palmetto Fire & Safety                                      Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          293 Popes Lane                                              When was the debt incurred?
          Lexington, SC 29072
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 79       Palmetto Plaza Associates                                   Last 4 digits of account number       0029                                           $305,112.00
          Nonpriority Creditor's Name
          514 Yachting Road                                           When was the debt incurred?           2019
          Lexington, SC 29072
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Confession of Judgment


 4.1
 80       Parkland Associates                                         Last 4 digits of account number       2612                                            $39,134.68
          Nonpriority Creditor's Name
          c/o Stuart Lee                                              When was the debt incurred?           2016
          PO Box 100200
          Columbia, SC 29202
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Confession of Judgment/ Business Debt
                                                                                          2016CV321060190
              Yes                                                        Other. Specify   2016CV321060189


 4.1
 81       Parkland Plaza, LLC                                         Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          c/o Colliers International SC                               When was the debt incurred?           2019
          1301 Gervais Street, Suite 1200
          Columbia, SC 29201
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Business debt- No Personal Guaranty
                                                                                          2019CV321060938
                                                                                          2019CV321060939
              Yes                                                        Other. Specify   2018CV321062549


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 4.1
 82       Party Animal                                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          909 Crocker Road                                            When was the debt incurred?
          Westlake, OH 44145
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 83       Pennington & Bailes, LLC                                    Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          5745 SW 75th Street                                         When was the debt incurred?
          Gainesville, FL 32608
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 84       PEPCO POMS                                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 950                                                  When was the debt incurred?
          Wharton, TX 77488
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 85       Portfolio Recovery Assoc                                    Last 4 digits of account number       1535                                              $2,688.00
          Nonpriority Creditor's Name
          Riverside Commerce Center                                   When was the debt incurred?           2016
          120 Corporate Blvd. Ste 100
          Norfolk, VA 23502
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Collection on Credit Card Charges.


 4.1
 86       Potts, Kim                                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          212 Bosworth Field Court                                    When was the debt incurred?
          Columbia, SC 29212
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor


 4.1
 87       Price, Harriet                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          8 Whetstone Creek Court                                     When was the debt incurred?
          Irmo, SC 29063
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor




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 4.1
 88       PrintGear                                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1769 Airport Blvd                                           When was the debt incurred?
          Cayce, SC 29033
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 89       ProMark                                                     Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          14052 Valley Drive                                          When was the debt incurred?
          Longmont, CO 80504
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 90       PSI91, Inc.                                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1 Federal Street                                            When was the debt incurred?
          Bldg 101
          Springfield, MA 01105
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 91       Punjani, Aziz                                               Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1232 Valencia Lane                                          When was the debt incurred?
          Lewisville, TX 75067
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor


 4.1
 92       Pye Barker                                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 69                                                   When was the debt incurred?
          Roswell, GA 30077
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 93       Quality Gold of Cincinnati                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 46705                                                When was the debt incurred?
          Cincinnati, OH 45246
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.1
 94       R.F.S.J., Inc.                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          654 West Main Street                                        When was the debt incurred?
          Mount Pleasant, PA 15666
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 95       Rapp's Packaging                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1035 New Castle Street                                      When was the debt incurred?
          Butler, PA 16001
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 96       Receivable Management Company                               Last 4 digits of account number                                                            $406.00
          Nonpriority Creditor's Name
          1601 Shop Road, STE D                                       When was the debt incurred?           2018
          Columbia, SC 29201
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Palmetto Dermatology PA
              Yes                                                        Other. Specify   Medical/Health Care Collections




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 4.1
 97       Rembrandt Quality Charms                                    Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          370 S. Youngs Road                                          When was the debt incurred?
          Buffalo, NY 14221
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 98       Rico Industries Inc.                                        Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          8030 Solutions Center                                       When was the debt incurred?
          Chicago, IL 60677
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.1
 99       Rivalry LLC                                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 1353                                                 When was the debt incurred?
          Albuquerque, NM 87121
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.2
 00       Roma Design, Inc.                                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 1130                                                 When was the debt incurred?
          Largo, FL 34649
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 01       Roma Design, Inc.                                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          A Division of Navitas Lease Corp                            When was the debt incurred?           2012
          814 A1a N Ste 205
          Ponte Vedra Beach, FL 32082
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 02       Royal Jewelry Manufacting, Inc.                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1001 Avenue of the Americas Room                            When was the debt incurred?           2015
          7
          New York, NY 10018
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt




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 4.2
 03       Royce Apparel, Inc.                                         Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 1036                                                 When was the debt incurred?
          Charlotte, NC 28201
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 04       RR Donnelley                                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1210 Key Road                                               When was the debt incurred?
          Columbia, SC 29201
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty


 4.2
 05       Rubin Hill, Inc.                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 28                                                   When was the debt incurred?
          Flourtown, PA 19031
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.2
 06       S A Kitsinian Inc.                                          Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          6743 Odessa Ave                                             When was the debt incurred?
          Van Nuys, CA 91406
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 07       S&P Trading Inc.                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          2500 E. Independence Blvd                                   When was the debt incurred?
          Suite BB304
          Charlotte, NC 28205
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 08       Salesone International LLC                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          16 Fitch Street                                             When was the debt incurred?
          Norwalk, CT 06855
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.2
 09       Samuel Spil Co.                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 220074                                               When was the debt incurred?
          Charlotte, NC 28222
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 10       Satterfield, Ken                                            Last 4 digits of account number                                                         $9,500.00
          Nonpriority Creditor's Name
          1125 W. McCarty Street                                      When was the debt incurred?           2018 & 2019
          Jefferson City, MO 65109
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Loan


 4.2
 11       Satterfield, Ken G.                                         Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          Alice and Ken Satterfield                                   When was the debt incurred?
          1125 W. McCarty Street
          Jefferson City, MO 65109
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor




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 4.2
 12       Savage, Timothy                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          3212 SW 137th Court                                         When was the debt incurred?
          Oklahoma City, OK 73170
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent

              Debtor 2 only                                              Unliquidated

              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business investor


 4.2
 13       SCA Collections                                             Last 4 digits of account number                                                            $203.00
          Nonpriority Creditor's Name
          300 E. Arlington Blvd.                                      When was the debt incurred?           2017
          Greenville, NC 27858
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Pathology Assoc of Lexington
              Yes                                                        Other. Specify   Medical/ Healthcare Collections


 4.2
 14       School Cuts                                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 3166                                                 When was the debt incurred?
          West Columbia, SC 29171
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.2
 15       SCI International, Inc.                                     Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          Dept No. 556                                                When was the debt incurred?
          PO Box 8000
          Buffalo, NY 14267
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 16       Seasons Jewelry                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          616 South Main Street                                       When was the debt incurred?
          Springfield, TN 37172
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 17       Seiko Corporation of America                                Last 4 digits of account number       2768                                                    $0.00
          Nonpriority Creditor's Name
          c/o Craig H. Allen                                          When was the debt incurred?           2016
          PO Box 10854
          Greenville, SC 29603
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.2
 18       Sewing Concepts                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          5710 Q Street                                               When was the debt incurred?
          Omaha, NE 68117
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 19       SHAH Diamonds, Inc.                                         Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          22 W. 48th Street                                           When was the debt incurred?
          Suite 600
          New York, NY 10036
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 20       Sheppard's Glass                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          2519 Platt Springs Road                                     When was the debt incurred?
          West Columbia, SC 29169
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty




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 4.2
 21       Signature Engraving Systems, Inc.                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          120 Whiting Farms Road                                      When was the debt incurred?           2013
          New York, NY 10104
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt


 4.2
 22       Simply Diamonds                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          529 Fifth Ave.                                              When was the debt incurred?
          Suite 1700
          New York, NY 10017
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 23       Smack Apparel Company                                       Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          2310 W. State Street                                        When was the debt incurred?
          Tampa, FL 33609
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.2
 24       South Carolina Shops                                        Last 4 digits of account number       1115                                                    $0.00
          Nonpriority Creditor's Name
          1314 Rosewood Drive                                         When was the debt incurred?           2016
          Columbia, SC 29201
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 25       Southeastern Findings                                       Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1733 Montreal Circle                                        When was the debt incurred?
          Tucker, GA 30084
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 26       Southern Collegiate Apparel LLC                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          3125 Interstate Circle                                      When was the debt incurred?
          Cottondale, AL 35453
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.2
 27       Sparkle Life LLC                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          5745 SW 75th Street                                         When was the debt incurred?
          Suite 249
          Gainesville, FL 32608
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 28       Spectrum Reach                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 952993                                               When was the debt incurred?
          Saint Louis, MO 63195
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 29       Spirit Communications                                       Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1640 Freed Street                                           When was the debt incurred?
          Columbia, SC 29201
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt-No Personal Guaranty




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 4.2
 30       Spirit Products LTD                                         Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 729                                                  When was the debt incurred?
          Haverhill, MA 01831
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 31       Sports Licensing Solutions LLC                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 745175                                               When was the debt incurred?
          Atlanta, GA 30374
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 32       SRB Trading                                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          7 West 45th Street #1706                                    When was the debt incurred?
          New York, NY 10036
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt




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 4.2
 33       Star Fish Vision                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          10776 Greenville Hwy                                        When was the debt incurred?
          Wellford, SC 29385
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 34       Star Ring, Inc.                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          9256 Owensmouth Ave                                         When was the debt incurred?
          Chatsworth, CA 91311
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty


 4.2
 35       Stephen Joseph                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          Marcus & Shaw                                               When was the debt incurred?
          3663 Wingfoot Drive
          Southport, NC 28461
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                     Student loans
          debt                                                           Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Business debt- No Personal Guaranty




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 4.2
 36       Sterling Contract Packaging                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 16159                                               When was the debt incurred?
          Boiling Springs, SC 29316
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 37       Sterling Reputation Inc.                                   Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          10116 West Oakland Park Blvd.                              When was the debt incurred?
          Fort Lauderdale, FL 33351
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 38       Stockdale Technologies Inc.                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          104 Commerce Street                                        When was the debt incurred?
          Lake Mary, FL 32746
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty




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 4.2
 39       Stone Armory                                               Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 26123                                               When was the debt incurred?
          Cleveland, OH 44126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 40       Strategic Funding Source, Inc.                             Last 4 digits of account number       0402                                           $534,216.53
          Nonpriority Creditor's Name
          c/o Kevin Malloy                                           When was the debt incurred?           2015
          1441 Main Street, Suite 1200
          Columbia, SC 29201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Confession of Judgment


 4.2
 41       Studex Corp                                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          521 Rosecrans Ave.                                         When was the debt incurred?
          Gardena, CA 90248
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty




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 4.2
 42       Stuller Settings                                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 87777                                               When was the debt incurred?
          Lafayette, LA 70598
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 43       Summit Sportswear, Inc                                     Last 4 digits of account number       0731                                                    $0.00
          Nonpriority Creditor's Name
          c/o Eric Hale                                              When was the debt incurred?           2019
          PO Box 287
          Columbia, SC 29202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 44       SYNCB/Lowes                                                Last 4 digits of account number       1535                                              Unknown
          Nonpriority Creditor's Name
          PO Box 965036                                              When was the debt incurred?           2014
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card Charges




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 4.2
 45       TACHE' Jewelry                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          18 East 48th Street 4th Floor                              When was the debt incurred?
          New York, NY 10017
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 46       Tacori Enterprises                                         Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1736 Gardena Ave                                           When was the debt incurred?           2011
          Glendale, CA 91204
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.2
 47       TAG-TICS Inc.                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          4620 West Tennyson Ave                                     When was the debt incurred?
          Tampa, FL 33629
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty




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 4.2
 48       Teagan Company                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          5347 Factors Walk Drive                                    When was the debt incurred?
          Sanford, FL 32771
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 49       Teague, Wanda & Roger                                      Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          101 Land of Lakes Blvd                                     When was the debt incurred?
          Lexington, SC 29073
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business investor


 4.2
 50       Team Effort Inc.                                           Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 243                                                 When was the debt incurred?
          Clarion, IA 50525
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty




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 4.2
 51       Team Golf                                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          2221 Luna Road                                             When was the debt incurred?
          Carrollton, TX 75006
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 52       The Game Inc                                               Last 4 digits of account number       3777                                                    $0.00
          Nonpriority Creditor's Name
          c/o Craig H. Allen                                         When was the debt incurred?           2015
          605 Pettigru Street
          Greenville, SC 29601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 53       The Lamar Companies                                        Last 4 digits of account number       0690                                              $2,977.66
          Nonpriority Creditor's Name
          c/o James Derrick Jackson                                  When was the debt incurred?           2019
          PO Box 50124
          Columbia, SC 29250
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Judgment/business debt




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 4.2
 54       Thompson, Stacy                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          713 Moss Creek Drive                                       When was the debt incurred?
          Cayce, SC 29033
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business investor


 4.2      Tigertown Graphics/Southern Fried
 55       Cotton                                                     Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 381                                                 When was the debt incurred?
          Clemson, SC 29633
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 56       Tradition Scarves, ASR 7, LLC                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          3321 Trillium Whorl Court                                  When was the debt incurred?
          Raleigh, NC 27607
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty




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 4.2
 57       Triune Technologies, Inc.                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 78175                                               When was the debt incurred?
          Greensboro, NC 27427
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 58       Tyco Integrated Security LLC                               Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          3243 Sunset Blvd                                           When was the debt incurred?
          West Columbia, SC 29169
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt-No Personal Guaranty


 4.2
 59       ULINE                                                      Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          12575 Uline Drive                                          When was the debt incurred?
          Pleasant Prairie, WI 53158
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt-No Personal Guaranty




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 4.2
 60       Ulloa, Elizabeth                                           Last 4 digits of account number                                                         $9,741.50
          Nonpriority Creditor's Name
          804 Green Springs Drive                                    When was the debt incurred?           2018 & 2019
          Columbia, SC 29223
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan


 4.2
 61       Unite U Technologies, Inc.                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          12 Pine Cone Dr                                            When was the debt incurred?
          Pittsford, NY 14534
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 62       US BANCORP                                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 580337                                              When was the debt incurred?           2010
          Minneapolis, MN 55458
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 4.2
 63       We Live For Saturdays                                      Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 1788                                                When was the debt incurred?
          Tupelo, MS 38802
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 64       Whitlock, Raymond                                          Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          Attn: Buster Whitlock                                      When was the debt incurred?
          Riverland Hills Baptist Church
          201 Lake Murray Blvd
          Irmo, SC 29063
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business investors


 4.2
 65       Wildcat/Retro Brands, LLC                                  Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1415 Emerald Road                                          When was the debt incurred?
          Greenwood, SC 29646
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 4.2
 66       Wilkerson & Associates                                     Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          222 Main Street                                            When was the debt incurred?
          Stuttgart, AR 72160
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 67       Windset Capital Corporation                                Last 4 digits of account number       1325                                            $48,885.04
          Nonpriority Creditor's Name
          c/o Joseph F. Davis                                        When was the debt incurred?           2016
          PO Drawer 730
          Sumter, SC 29151
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Judgment


 4.2
 68       Windstream                                                 Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          5135 Sunset Blvd Unit J                                    When was the debt incurred?
          Lexington, SC 29072
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty




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 4.2
 69       WLTX-TV                                                    Last 4 digits of account number       1272                                                    $0.00
          Nonpriority Creditor's Name
          6027 Garners Ferry Road                                    When was the debt incurred?
          Columbia, SC 29209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 70       WMFX-FM                                                    Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1900 Pineview Road                                         When was the debt incurred?
          Columbia, SC 29209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 71       World's Gold & Diamonds, Inc.                              Last 4 digits of account number       1486                                                    $0.00
          Nonpriority Creditor's Name
          c/o Robert J. Mackay                                       When was the debt incurred?
          PO Box 7031
          Pasadena, TX 77508
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty




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 4.2
 72       Worthy Promotional Products                                Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          PO Box 240490                                              When was the debt incurred?
          Eclectic, AL 36024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 73       Wright Express                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          97 Darling Ave.                                            When was the debt incurred?
          South Portland, ME 04106
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 74       WWDM                                                       Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          1900 Pineview Road                                         When was the debt incurred?
          Columbia, SC 29209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 93 of 100
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 Debtor 1 Scott Thomas Satterfield                                                                       Case number (if known)

 4.2
 75        Youth Monument                                            Last 4 digits of account number                                                               $0.00
           Nonpriority Creditor's Name
           3750 South Broadway Place                                 When was the debt incurred?
           Los Angeles, CA 90007
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 76        Zephyr Graf-X                                             Last 4 digits of account number                                                               $0.00
           Nonpriority Creditor's Name
           PO Box 304                                                When was the debt incurred?
           Stillwater, MN 55082
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty


 4.2
 77        Zero Gravity Project LLC                                  Last 4 digits of account number       4139                                                    $0.00
           Nonpriority Creditor's Name
           c/o Jerry Reardon                                         When was the debt incurred?           2018
           1722 Main Street
           Suite 302
           Columbia, SC 29201
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- No Personal Guaranty

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 94 of 100
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 Debtor 1 Scott Thomas Satterfield                                                                       Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
  Parkland Associates LLC                                      Line 4.180 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 c/o Colliers International of SC                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 11610
 Columbia, SC 29211
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ANI International                                             Line 4.276 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 125 S. Wacker Drive                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1210
 Chicago, IL 60606
                                                               Last 4 digits of account number                  0995

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ashi Diamonds Inc.                                            Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 18 East 48th Street, 14th                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10017
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AXIS Capital, Inc.                                            Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 308 N Locust Street Suite 100                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Island, NE 68801
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Baden Sports Inc.                                             Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3401 Lind Ave. SW                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Renton, WA 98057
                                                               Last 4 digits of account number                  4886

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 BB&T                                                          Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o James W. Poag, Jr.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 6422
 West Columbia, SC 29171
                                                               Last 4 digits of account number                  3354

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 BB&T                                                          Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1901 Assembly Street                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Columbia, SC 29201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 BB&T                                                          Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 684                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Columbia, SC 29202
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital Advance Services, LLC                                 Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 30 Broad Street, 14th Floor, Suite                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 14108
 New York, NY 10004
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 30281                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number                  1270

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citi Cards CBNA                                               Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 6241                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117
                                                               Last 4 digits of account number

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 95 of 100
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 Debtor 1 Scott Thomas Satterfield                                                                       Case number (if known)

                                                                                                                3425

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Clemson Sports Properties                                     Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 135 Old Greenville Highway # 203                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Clemson, SC 29631
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Columbia Sportswear Company,                                  Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Inc.                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 935641
 Atlanta, GA 31193
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Custom Branded Sportswear                                     Line 4.55 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 413245                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Kansas City, MO 64141
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Custom Branded Sportswear                                     Line 4.55 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Trace Dillon                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 The Dillon Law Firm
 2346 Wisteria Drive, Suite 220
 Snellville, GA 30078
                                                               Last 4 digits of account number                  1858

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cutter & Buck                                                 Line 4.57 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 34855                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Seattle, WA 98124
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Dayna Designs, LLC                                            Line 4.61 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 RR Beach Associates                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 95 Wolf Creek Blvd., Suite 2
 Dover, DE 19901
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Divine Creations, Inc                                         Line 4.68 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2027 East Barden Road                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Charlotte, NC 28226
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Gear For Sports, Inc.                                         Line 4.91 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 12193 Collection Center Drive                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Chicago, IL 60693
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Gems One Corporation                                          Line 4.92 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 25 W 45th Street Ste 1200                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Global Brand Group/KHQ Branded                                Line 4.94 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o E. Lloyd Wilcox, II                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1909
 Florence, SC 29503
                                                               Last 4 digits of account number                  4AGA

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Icon Outdoors, LLC                                            Line 4.107 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims


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 Debtor 1 Scott Thomas Satterfield                                                                       Case number (if known)

 PO Box 17012                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Baltimore, MD 21297
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Image One                                                     Line 4.110 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 c/o Thomas Burns                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Hancock Law Firm
 610 East 6th Street
 Little Rock, AR 72202
                                                               Last 4 digits of account number                  2314

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Indigo                                                        Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Genesis FS Card Servcies                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 4477
 Beaverton, OR 97076
                                                               Last 4 digits of account number                  4334

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Interings, Inc.                                               Line 4.114 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 62 West 47th Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 909
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 International Inport Corp.                                    Line 4.116 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 22 West 48th Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Learfield Communications, Inc                                 Line 4.139 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 c/o Parnell & Crum PA                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 2189
 Montgomery, AL 36102
                                                               Last 4 digits of account number                  5878

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Marathon Company                                              Line 4.149 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 PO Box 419                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Attleboro, MA 02703
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mercury Card/FB&T                                             Line 4.158 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 700 22nd Ave South                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Brookings, SD 57006
                                                               Last 4 digits of account number                  2014

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mohan's Inc.                                                  Line 4.162 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 Nine Dunwoody Parkway, Ste #114                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30338
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 National Jewelry Co, Inc.                                     Line 4.165 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 PO Box 710                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Ruston, LA 71273
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 National Jewelry Co, Inc.                                     Line 4.165 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 PO Box 1248                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Ruston, LA 71273
                                                               Last 4 digits of account number



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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Nike Team Sports                                              Line 4.172 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 PO Box 277482                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30384
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Noble Gift Packaging                                          Line 4.173 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 20 Sand Park Road                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Cedar Grove, NJ 07009
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Oakley, Inc.                                                  Line 4.174 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 c/o Parnell & Crum, PA                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 2189
 Montgomery, AL 36102
                                                               Last 4 digits of account number                  3364

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Palmetto Plaza Associates                                     Line 4.179 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 c/o Jeffrey L. Silver, Esquire                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 700 Huger Street, Suite 102
 Columbia, SC 29202
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Quality Gold of Cincinnati                                    Line 4.193 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 PO Box 18490                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Fairfield, OH 45018
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rico Industries Inc.                                          Line 4.198 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1712 S. Michigan Ave                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Chicago, IL 60616
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Samuel Spil Co.                                               Line 4.209 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 PO Box 78282                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Charlotte, NC 28271
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Seasons Jewelry                                               Line 4.216 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 111 Church Street, Suite 300                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Lexington, KY 40507
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Seiko Time                                                    Line 4.217 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1111 MacArthur Blvd.                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Mahwah, NJ 07430
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Southern Collegiate Apparel LLC                               Line 4.226 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 c/o Wilson F. Green                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Fleenor & Green LLP
 1657 McFarland Blvd N. Ste G2A
 Tuscaloosa, AL 35406
                                                               Last 4 digits of account number                  8200

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sterling Contract Packaging                                   Line 4.236 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1875 Moore Duncan Hwy                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Moore, SC 29369
                                                               Last 4 digits of account number


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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Strategic Funding Source, Inc.                                Line 4.240 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 c/o Richard J. Howard, Esquire                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 120 West 45th Street, 2nd Floor
 New York, NY 10036
                                                               Last 4 digits of account number                    2016

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Strategic Funding Source, Inc.                                Line 4.240 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1501 Broadway Ste 360                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Stuller Settings                                              Line 4.242 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 c/o CISCO, Inc.                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 1702 Townhurst Drive
 Houston, TX 77043
                                                               Last 4 digits of account number                    8153

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Summit Sportswear, Inc.                                       Line 4.243 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 800 W. 47th Street                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Kansas City, MO 64112
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 The Game LLC                                                  Line 4.252 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 PO Box 932255                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 31193
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 The Game LLC                                                  Line 4.252 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 PO Box 116469                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30368
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Transworld Systems                                            Line 4.78 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 15095                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850-5000
                                                               Last 4 digits of account number                    1709

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Tyco Integrated Security LLC                                  Line 4.258 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 c/o Law Offices Wilcox, Buyck, &                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 William
 PO Box 1909
 Florence, SC 29503
                                                               Last 4 digits of account number                    0014

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Windstream Communications                                     Line 4.268 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 c/o The Leviton Law Firm LTD                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 3 Golf Center, Suite 361
 Hoffman Estates, IL 60169
                                                               Last 4 digits of account number                    8748

 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                1,913,335.12

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                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $             1,913,335.12

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                     0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $             2,172,924.50

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $             2,172,924.50




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 Fill in this information to identify your case:

 Debtor 1                  Scott Thomas Satterfield
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Scott Thomas Satterfield
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Garnet & Black Traditions                                                            Schedule D, line
                238 Mineral Springs Drive                                                            Schedule E/F, line     4.134
                Lexington, SC 29073
                                                                                                     Schedule G
                                                                                                   Lakeshirts, Inc.



    3.2         Garnet & Black Traditions                                                            Schedule D, line
                238 Mineral Springs Drive                                                            Schedule E/F, line 4.22
                Lexington, SC 29073
                                                                                                     Schedule G
                                                                                                   Branch Banking & Trust Company FKA BB&T



    3.3         Garnet & Black Traditions                                                            Schedule D, line
                238 Mineral Springs Drive                                                            Schedule E/F, line 4.62
                Lexington, SC 29073
                                                                                                     Schedule G
                                                                                                   DDRTC Columbiana Station II LLC




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.4      Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.130
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Knight, Marilyn



    3.5      Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.145
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Lucas, Kevin



    3.6      Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.210
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Satterfield, Ken



    3.7      Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.101
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Harwell, Shannon



    3.8      Jewelry Warehouse, Inc.                                                              Schedule D, line
             238 Mineral Springs Drive                                                            Schedule E/F, line   4.260
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               Ulloa, Elizabeth



    3.9      Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.180
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Parkland Associates



    3.10     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.64
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Diamond Graphics, LLC/Marie Clayborne



    3.11     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line  4.267
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Windset Capital Corporation




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.12     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line   4.34
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Carolina Retail Packaging, Inc.



    3.13     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.253
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               The Lamar Companies



    3.14     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.22
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Branch Banking & Trust Company FKA BB&T



    3.15     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line  4.179
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Palmetto Plaza Associates



    3.16     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.172
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Nike USA Inc



    3.17     Jewelry Warehouse, Inc.                                                              Schedule D, line
             238 Mineral Springs Drive                                                            Schedule E/F, line 4.240
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               Strategic Funding Source, Inc.



    3.18     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.76
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               ESP Receivables Management



    3.19     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.224
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               South Carolina Shops




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.20     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.181
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Parkland Plaza, LLC



    3.21     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.252
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               The Game Inc



    3.22     Jewelry Warehouse, Inc.                                                              Schedule D, line
             238 Mineral Springs Drive                                                            Schedule E/F, line 4.12
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               Atlanta Hosiery Company



    3.23     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line  4.217
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Seiko Corporation of America



    3.24     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.174
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Oakley, Inc.



    3.25     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.62
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               DDRTC Columbiana Station II LLC



    3.26     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.139
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Learfield Communications, Inc



    3.27     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.57
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Cutter & Buck




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.28     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line   4.177
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Pacific and Southern, LLC dba WLTX TV



    3.29     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.55
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Custom Branded Sportswear



    3.30     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.99
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               GRI-EQY (Sparkleberry Square) LLC



    3.31     Jewelry Warehouse, Inc.                                                              Schedule D, line
             238 Mineral Springs Drive                                                            Schedule E/F, line   4.107
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               Icon Outdoors LLC



    3.32     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.68
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Divine Creations, Inc



    3.33     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.49
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Columbia Sportswear Company, Inc.



    3.34     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.243
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Summit Sportswear, Inc



    3.35     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line   4.277
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Zero Gravity Project LLC




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.36     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line  4.3
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Adrenaline Promotions



    3.37     Jewelry Warehouse, Inc.                                                              Schedule D, line
             238 Mineral Springs Drive                                                            Schedule E/F, line   4.4
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               All In



    3.38     Jewelry Warehouse, Inc.                                                              Schedule D, line
             238 Mineral Springs Drive                                                            Schedule E/F, line  4.5
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               Alliance Legal Partners



    3.39     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.6
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Alumni Association



    3.40     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.7
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               American Ring Source



    3.41     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.8
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Aminco International



    3.42     Jewelry Warehouse, Inc.                                                              Schedule D, line
             238 Mineral Springs Drive                                                            Schedule E/F, line 4.10
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Ariel Jewelry Company



    3.43     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.11
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Ashi Diamonds Inc.




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.44     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.13
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               AXIS Capital, Inc.



    3.45     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.14
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Baden Sports Inc.



    3.46     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line  4.15
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Badger Sportswear, Inc.



    3.47     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.17
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Bakins Ventures, LLC



    3.48     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.19
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Benchmark



    3.49     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.20
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Bethel International



    3.50     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.21
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Big Jewelry



    3.51     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.23
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Brett Hand, Inc.




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.52     Jewelry Warehouse, Inc.                                                              Schedule D, line
             238 Mineral Springs Drive                                                            Schedule E/F, line   4.24
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Brice Caldwell, Inc.



    3.53     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.27
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               C.G. Creations



    3.54     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.32
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Cargo Hold, Inc.



    3.55     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.33
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Carolina Fin



    3.56     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.36
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Chem Art



    3.57     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.37
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               China Pearl



    3.58     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.38
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Church Hill Classics



    3.59     Jewelry Warehouse, Inc.                                                              Schedule D, line
             238 Mineral Springs Drive                                                            Schedule E/F, line 4.40
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               Citizens Watch Company




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.60     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.41
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Classic Imports, Inc.



    3.61     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.43
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Coast Apparel, LLC



    3.62     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.45
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               College Covers



    3.63     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line   4.46
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Collegiate Enterprises



    3.64     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line   4.47
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Collegiate Kids Books, LLC



    3.65     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.48
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Color Craft



    3.66     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.50
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Coserv



    3.67     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.51
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               CRAFTIQUE




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.68     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.52
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Creative Realities/Wireless Ronin Tech



    3.69     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.215
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               SCI International, Inc.



    3.70     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.56
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Custom Decor



    3.71     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.59
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Darling Imports



    3.72     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.61
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Dayna Designs, LLC



    3.73     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.63
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Diamond Counsel of America



    3.74     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.67
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Distinctive Homeworks, LLC



    3.75     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.72
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               East Bay Air LLC




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.76     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.73
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Edible Arrangements



    3.77     Jewelry Warehouse, Inc.                                                              Schedule D, line
             238 Mineral Springs Drive                                                            Schedule E/F, line   4.74
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               Elektroplate



    3.78     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.75
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               EMA Jewelry, Inc.



    3.79     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.77
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               EVC, Inc. Cozy Cover



    3.80     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.78
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Evergreen



    3.81     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.79
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Fanz Zone



    3.82     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.80
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               FBF Originals



    3.83     Jewelry Warehouse, Inc.                                                              Schedule D, line
             238 Mineral Springs Drive                                                            Schedule E/F, line   4.82
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               Flirties




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    3.84     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.84
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Freaker USA, Inc.



    3.85     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line  4.85
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               From The Heart Enterprises



    3.86     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.86
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Gabriel Brothers



    3.87     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.87
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Game Wear



    3.88     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.89
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Gameday Ironworks



    3.89     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.91
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Gear for Sports, Inc.



    3.90     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.92
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Gems One Corporation



    3.91     Jewelry Warehouse, Inc.                                                              Schedule D, line
             238 Mineral Springs Drive                                                            Schedule E/F, line   4.93
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               Glik Imports




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    3.92     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.94
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Global Brand Group/KHQ Branded



    3.93     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line  4.95
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Global Fashion Works, LLC/ Flying Colors



    3.94     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.96
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Gold Lance



    3.95     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.98
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Greenville News



    3.96     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.100
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Hadley-Roma



    3.97     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line    4.102
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Hedstrom Plastics



    3.98     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line   4.105
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Highland Graphics, Inc.



    3.99     Jewelry Warehouse, Inc.                                                             Schedule D, line
             238 Mineral Springs Drive                                                           Schedule E/F, line 4.106
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Hudson Jewelry MFG Co.




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    3.10     Jewelry Warehouse, Inc.                                                             Schedule D, line
    0        238 Mineral Springs Drive                                                           Schedule E/F, line     4.110
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Image One



    3.10     Jewelry Warehouse, Inc.                                                             Schedule D, line
    1        238 Mineral Springs Drive                                                           Schedule E/F, line     4.111
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Imperial- Deltah, Inc.



    3.10     Jewelry Warehouse, Inc.                                                              Schedule D, line
    2        238 Mineral Springs Drive                                                            Schedule E/F, line 4.113
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               Innovative Adhesives, LLC



    3.10     Jewelry Warehouse, Inc.                                                              Schedule D, line
    3        238 Mineral Springs Drive                                                            Schedule E/F, line    4.114
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               Interings, Inc.



    3.10     Jewelry Warehouse, Inc.                                                              Schedule D, line
    4        238 Mineral Springs Drive                                                            Schedule E/F, line 4.115
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               International Diamond Distributors



    3.10     Jewelry Warehouse, Inc.                                                              Schedule D, line
    5        238 Mineral Springs Drive                                                            Schedule E/F, line  4.116
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               International Import Corp.



    3.10     Jewelry Warehouse, Inc.                                                             Schedule D, line
    6        238 Mineral Springs Drive                                                           Schedule E/F, line  4.117
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               IPG Independant Publishers Group



    3.10     Jewelry Warehouse, Inc.                                                              Schedule D, line
    7        238 Mineral Springs Drive                                                            Schedule E/F, line    4.118
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               Iron Mountain




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    3.10     Jewelry Warehouse, Inc.                                                             Schedule D, line
    8        238 Mineral Springs Drive                                                           Schedule E/F, line 4.120
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               James Hagen Dist. Co



    3.10     Jewelry Warehouse, Inc.                                                             Schedule D, line
    9        238 Mineral Springs Drive                                                           Schedule E/F, line  4.121
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Jardine Associates, LLC



    3.11     Jewelry Warehouse, Inc.                                                             Schedule D, line
    0        238 Mineral Springs Drive                                                           Schedule E/F, line 4.122
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Jaycee Merchandising, LLC



    3.11     Jewelry Warehouse, Inc.                                                             Schedule D, line
    1        238 Mineral Springs Drive                                                           Schedule E/F, line    4.123
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Jayden Star, LLC



    3.11     Jewelry Warehouse, Inc.                                                             Schedule D, line
    2        238 Mineral Springs Drive                                                           Schedule E/F, line    4.126
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Kellee Designs



    3.11     Jewelry Warehouse, Inc.                                                             Schedule D, line
    3        238 Mineral Springs Drive                                                           Schedule E/F, line    4.127
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Kencraft, Inc.



    3.11     Jewelry Warehouse, Inc.                                                             Schedule D, line
    4        238 Mineral Springs Drive                                                           Schedule E/F, line  4.128
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Kent Porth Nature Photography



    3.11     Jewelry Warehouse, Inc.                                                             Schedule D, line
    5        238 Mineral Springs Drive                                                           Schedule E/F, line    4.129
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Kim International




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    3.11     Jewelry Warehouse, Inc.                                                             Schedule D, line
    6        238 Mineral Springs Drive                                                           Schedule E/F, line    4.135
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Lakeshirts, Inc.



    3.11     Jewelry Warehouse, Inc.                                                             Schedule D, line
    7        238 Mineral Springs Drive                                                           Schedule E/F, line    4.136
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Lashbrook



    3.11     Jewelry Warehouse, Inc.                                                             Schedule D, line
    8        238 Mineral Springs Drive                                                           Schedule E/F, line  4.138
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Leading Jewelers Guild, Inc.



    3.11     Jewelry Warehouse, Inc.                                                              Schedule D, line
    9        238 Mineral Springs Drive                                                            Schedule E/F, line    4.140
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               Little King Mfg. Co. Inc.



    3.12     Jewelry Warehouse, Inc.                                                             Schedule D, line
    0        238 Mineral Springs Drive                                                           Schedule E/F, line 4.142
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Logo Chair Company



    3.12     Jewelry Warehouse, Inc.                                                             Schedule D, line
    1        238 Mineral Springs Drive                                                           Schedule E/F, line 4.143
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Loudmouth Golf, LLC



    3.12     Jewelry Warehouse, Inc.                                                             Schedule D, line
    2        238 Mineral Springs Drive                                                           Schedule E/F, line    4.144
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Low Cost Luxury



    3.12     Jewelry Warehouse, Inc.                                                              Schedule D, line
    3        238 Mineral Springs Drive                                                            Schedule E/F, line 4.146
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               M. Schamroth & Sons




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    3.12     Jewelry Warehouse, Inc.                                                             Schedule D, line
    4        238 Mineral Springs Drive                                                           Schedule E/F, line    4.148
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Magnolia Lane



    3.12     Jewelry Warehouse, Inc.                                                             Schedule D, line
    5        238 Mineral Springs Drive                                                           Schedule E/F, line    4.149
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Marathon Company



    3.12     Jewelry Warehouse, Inc.                                                             Schedule D, line
    6        238 Mineral Springs Drive                                                           Schedule E/F, line 4.152
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Maryland Brand Management, Inc.



    3.12     Jewelry Warehouse, Inc.                                                             Schedule D, line
    7        238 Mineral Springs Drive                                                           Schedule E/F, line    4.153
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Mascot Books



    3.12     Jewelry Warehouse, Inc.                                                             Schedule D, line
    8        238 Mineral Springs Drive                                                           Schedule E/F, line   4.154
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Masik Collegiate Fragrances LLC



    3.12     Jewelry Warehouse, Inc.                                                             Schedule D, line
    9        238 Mineral Springs Drive                                                           Schedule E/F, line    4.156
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Memory Company



    3.13     Jewelry Warehouse, Inc.                                                             Schedule D, line
    0        238 Mineral Springs Drive                                                           Schedule E/F, line    4.161
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Midas Chain, Inc



    3.13     Jewelry Warehouse, Inc.                                                             Schedule D, line
    1        238 Mineral Springs Drive                                                           Schedule E/F, line    4.162
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Mohan's Inc.




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    3.13     Jewelry Warehouse, Inc.                                                             Schedule D, line
    2        238 Mineral Springs Drive                                                           Schedule E/F, line     4.163
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Mud Pie, LLC



    3.13     Jewelry Warehouse, Inc.                                                             Schedule D, line
    3        238 Mineral Springs Drive                                                           Schedule E/F, line   4.165
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               National Jewelry Co. Inc.



    3.13     Jewelry Warehouse, Inc.                                                             Schedule D, line
    4        238 Mineral Springs Drive                                                           Schedule E/F, line     4.166
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Native Sun Sports



    3.13     Jewelry Warehouse, Inc.                                                             Schedule D, line
    5        238 Mineral Springs Drive                                                           Schedule E/F, line 4.167
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Ned Strauss & Associates



    3.13     Jewelry Warehouse, Inc.                                                             Schedule D, line
    6        238 Mineral Springs Drive                                                           Schedule E/F, line     4.168
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Neil Enterprises, Inc.



    3.13     Jewelry Warehouse, Inc.                                                             Schedule D, line
    7        238 Mineral Springs Drive                                                           Schedule E/F, line  4.169
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Neves Industries, LLC



    3.13     Jewelry Warehouse, Inc.                                                             Schedule D, line
    8        238 Mineral Springs Drive                                                           Schedule E/F, line     4.170
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               New World Graphics



    3.13     Jewelry Warehouse, Inc.                                                             Schedule D, line
    9        238 Mineral Springs Drive                                                           Schedule E/F, line     4.173
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Noble Gift Packing




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    3.14     Jewelry Warehouse, Inc.                                                             Schedule D, line
    0        238 Mineral Springs Drive                                                           Schedule E/F, line    4.176
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Overnight Mountings



    3.14     Jewelry Warehouse, Inc.                                                             Schedule D, line
    1        238 Mineral Springs Drive                                                           Schedule E/F, line   4.178
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Palmetto Fire & Safety



    3.14     Jewelry Warehouse, Inc.                                                             Schedule D, line
    2        238 Mineral Springs Drive                                                           Schedule E/F, line    4.182
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Party Animal



    3.14     Jewelry Warehouse, Inc.                                                             Schedule D, line
    3        238 Mineral Springs Drive                                                           Schedule E/F, line  4.183
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Pennington & Bailes, LLC



    3.14     Jewelry Warehouse, Inc.                                                             Schedule D, line
    4        238 Mineral Springs Drive                                                           Schedule E/F, line    4.184
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               PEPCO POMS



    3.14     Jewelry Warehouse, Inc.                                                              Schedule D, line
    5        238 Mineral Springs Drive                                                            Schedule E/F, line   4.188
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               PrintGear



    3.14     Jewelry Warehouse, Inc.                                                             Schedule D, line
    6        238 Mineral Springs Drive                                                           Schedule E/F, line    4.189
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               ProMark



    3.14     Jewelry Warehouse, Inc.                                                             Schedule D, line
    7        238 Mineral Springs Drive                                                           Schedule E/F, line    4.190
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               PSI91, Inc.




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    3.14     Jewelry Warehouse, Inc.                                                             Schedule D, line
    8        238 Mineral Springs Drive                                                           Schedule E/F, line    4.192
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Pye Barker



    3.14     Jewelry Warehouse, Inc.                                                             Schedule D, line
    9        238 Mineral Springs Drive                                                           Schedule E/F, line   4.193
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Quality Gold of Cincinnati



    3.15     Jewelry Warehouse, Inc.                                                             Schedule D, line
    0        238 Mineral Springs Drive                                                           Schedule E/F, line    4.194
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               R.F.S.J., Inc.



    3.15     Jewelry Warehouse, Inc.                                                             Schedule D, line
    1        238 Mineral Springs Drive                                                           Schedule E/F, line    4.195
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Rapp's Packaging



    3.15     Jewelry Warehouse, Inc.                                                             Schedule D, line
    2        238 Mineral Springs Drive                                                           Schedule E/F, line 4.197
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Rembrandt Quality Charms



    3.15     Jewelry Warehouse, Inc.                                                             Schedule D, line
    3        238 Mineral Springs Drive                                                           Schedule E/F, line    4.198
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Rico Industries Inc.



    3.15     Jewelry Warehouse, Inc.                                                             Schedule D, line
    4        238 Mineral Springs Drive                                                           Schedule E/F, line    4.199
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Rivalry LLC



    3.15     Jewelry Warehouse, Inc.                                                             Schedule D, line
    5        238 Mineral Springs Drive                                                           Schedule E/F, line    4.200
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Roma Design, Inc.




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    3.15     Jewelry Warehouse, Inc.                                                             Schedule D, line
    6        238 Mineral Springs Drive                                                           Schedule E/F, line    4.203
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Royce Apparel, Inc.



    3.15     Jewelry Warehouse, Inc.                                                             Schedule D, line
    7        238 Mineral Springs Drive                                                           Schedule E/F, line    4.205
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Rubin Hill, Inc.



    3.15     Jewelry Warehouse, Inc.                                                             Schedule D, line
    8        238 Mineral Springs Drive                                                           Schedule E/F, line    4.207
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               S&P Trading Inc.



    3.15     Jewelry Warehouse, Inc.                                                             Schedule D, line
    9        238 Mineral Springs Drive                                                           Schedule E/F, line    4.206
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               S A Kitsinian Inc.



    3.16     Jewelry Warehouse, Inc.                                                             Schedule D, line
    0        238 Mineral Springs Drive                                                           Schedule E/F, line   4.208
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Salesone International LLC



    3.16     Jewelry Warehouse, Inc.                                                             Schedule D, line
    1        238 Mineral Springs Drive                                                           Schedule E/F, line    4.209
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Samuel Spil Co.



    3.16     Jewelry Warehouse, Inc.                                                             Schedule D, line
    2        238 Mineral Springs Drive                                                           Schedule E/F, line    4.214
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               School Cuts



    3.16     Jewelry Warehouse, Inc.                                                             Schedule D, line
    3        238 Mineral Springs Drive                                                           Schedule E/F, line    4.216
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Seasons Jewelry




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                                                                                               Check all schedules that apply:
    3.16     Jewelry Warehouse, Inc.                                                             Schedule D, line
    4        238 Mineral Springs Drive                                                           Schedule E/F, line    4.218
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Sewing Concepts



    3.16     Jewelry Warehouse, Inc.                                                             Schedule D, line
    5        238 Mineral Springs Drive                                                           Schedule E/F, line 4.219
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               SHAH Diamonds, Inc.



    3.16     Jewelry Warehouse, Inc.                                                             Schedule D, line
    6        238 Mineral Springs Drive                                                           Schedule E/F, line    4.222
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Simply Diamonds



    3.16     Jewelry Warehouse, Inc.                                                             Schedule D, line
    7        238 Mineral Springs Drive                                                           Schedule E/F, line 4.223
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Smack Apparel Company



    3.16     Jewelry Warehouse, Inc.                                                             Schedule D, line
    8        238 Mineral Springs Drive                                                           Schedule E/F, line  4.225
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Southeastern Findings



    3.16     Jewelry Warehouse, Inc.                                                             Schedule D, line
    9        238 Mineral Springs Drive                                                           Schedule E/F, line  4.226
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Southern Collegiate Apparel LLC



    3.17     Jewelry Warehouse, Inc.                                                             Schedule D, line
    0        238 Mineral Springs Drive                                                           Schedule E/F, line    4.227
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Sparkle Life LLC



    3.17     Jewelry Warehouse, Inc.                                                             Schedule D, line
    1        238 Mineral Springs Drive                                                           Schedule E/F, line    4.228
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Spectrum Reach




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    3.17     Jewelry Warehouse, Inc.                                                             Schedule D, line
    2        238 Mineral Springs Drive                                                           Schedule E/F, line    4.230
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Spirit Products LTD



    3.17     Jewelry Warehouse, Inc.                                                             Schedule D, line
    3        238 Mineral Springs Drive                                                           Schedule E/F, line   4.231
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Sports Licensing Solutions LLC



    3.17     Jewelry Warehouse, Inc.                                                             Schedule D, line
    4        238 Mineral Springs Drive                                                           Schedule E/F, line    4.232
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               SRB Trading



    3.17     Jewelry Warehouse, Inc.                                                             Schedule D, line
    5        238 Mineral Springs Drive                                                           Schedule E/F, line    4.233
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Star Fish Vision



    3.17     Jewelry Warehouse, Inc.                                                             Schedule D, line
    6        238 Mineral Springs Drive                                                           Schedule E/F, line    4.234
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Star Ring, Inc.



    3.17     Jewelry Warehouse, Inc.                                                             Schedule D, line
    7        238 Mineral Springs Drive                                                           Schedule E/F, line    4.235
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Stephen Joseph



    3.17     Jewelry Warehouse, Inc.                                                             Schedule D, line
    8        238 Mineral Springs Drive                                                           Schedule E/F, line   4.236
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Sterling Contract Packaging



    3.17     Jewelry Warehouse, Inc.                                                             Schedule D, line
    9        238 Mineral Springs Drive                                                           Schedule E/F, line   4.237
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Sterling Reputation Inc.




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    3.18     Jewelry Warehouse, Inc.                                                             Schedule D, line
    0        238 Mineral Springs Drive                                                           Schedule E/F, line 4.238
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Stockdale Technologies Inc.



    3.18     Jewelry Warehouse, Inc.                                                             Schedule D, line
    1        238 Mineral Springs Drive                                                           Schedule E/F, line    4.239
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Stone Armory



    3.18     Jewelry Warehouse, Inc.                                                             Schedule D, line
    2        238 Mineral Springs Drive                                                           Schedule E/F, line    4.241
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Studex Corp



    3.18     Jewelry Warehouse, Inc.                                                             Schedule D, line
    3        238 Mineral Springs Drive                                                           Schedule E/F, line    4.242
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Stuller Settings



    3.18     Jewelry Warehouse, Inc.                                                             Schedule D, line
    4        238 Mineral Springs Drive                                                           Schedule E/F, line    4.245
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               TACHE' Jewelry



    3.18     Jewelry Warehouse, Inc.                                                             Schedule D, line
    5        238 Mineral Springs Drive                                                           Schedule E/F, line    4.247
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               TAG-TICS Inc.



    3.18     Jewelry Warehouse, Inc.                                                             Schedule D, line
    6        238 Mineral Springs Drive                                                           Schedule E/F, line    4.248
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Teagan Company



    3.18     Jewelry Warehouse, Inc.                                                             Schedule D, line
    7        238 Mineral Springs Drive                                                           Schedule E/F, line    4.250
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Team Effort Inc.




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    3.18     Jewelry Warehouse, Inc.                                                             Schedule D, line
    8        238 Mineral Springs Drive                                                           Schedule E/F, line    4.251
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Team Golf



    3.18     Jewelry Warehouse, Inc.                                                              Schedule D, line
    9        238 Mineral Springs Drive                                                            Schedule E/F, line 4.255
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               Tigertown Graphics/Southern Fried Cotton



    3.19     Jewelry Warehouse, Inc.                                                             Schedule D, line
    0        238 Mineral Springs Drive                                                           Schedule E/F, line  4.256
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Tradition Scarves, ASR 7, LLC



    3.19     Jewelry Warehouse, Inc.                                                              Schedule D, line
    1        238 Mineral Springs Drive                                                            Schedule E/F, line  4.257
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               Triune Technologies, Inc.



    3.19     Jewelry Warehouse, Inc.                                                             Schedule D, line
    2        238 Mineral Springs Drive                                                           Schedule E/F, line  4.263
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               We Live For Saturdays



    3.19     Jewelry Warehouse, Inc.                                                             Schedule D, line
    3        238 Mineral Springs Drive                                                           Schedule E/F, line   4.265
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Wildcat/Retro Brands, LLC



    3.19     Jewelry Warehouse, Inc.                                                             Schedule D, line
    4        238 Mineral Springs Drive                                                           Schedule E/F, line 4.266
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Wilkerson & Associates



    3.19     Jewelry Warehouse, Inc.                                                             Schedule D, line
    5        238 Mineral Springs Drive                                                           Schedule E/F, line 4.272
             Lexington, SC 29073-8167
                                                                                                Schedule G
                                                                                               Worthy Promotional Products




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    3.19     Jewelry Warehouse, Inc.                                                             Schedule D, line
    6        238 Mineral Springs Drive                                                           Schedule E/F, line    4.275
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Youth Monument



    3.19     Jewelry Warehouse, Inc.                                                             Schedule D, line
    7        238 Mineral Springs Drive                                                           Schedule E/F, line    4.276
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Zephyr Graf-X



    3.19     Jewelry Warehouse, Inc.                                                             Schedule D, line
    8        238 Mineral Springs Drive                                                           Schedule E/F, line  4.28
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Capital Advance Services, LLC



    3.19     Jewelry Warehouse, Inc.                                                              Schedule D, line
    9        238 Mineral Springs Drive                                                            Schedule E/F, line   4.112
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               Influx Capital LLC



    3.20     Jewelry Warehouse, Inc.                                                             Schedule D, line
    0        238 Mineral Springs Drive                                                           Schedule E/F, line   4.30
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Capital Merchant Services, LLC



    3.20     Jewelry Warehouse, Inc.                                                             Schedule D, line
    1        238 Mineral Springs Drive                                                           Schedule E/F, line  4.9
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Argosy Capital Group LLC



    3.20     Jewelry Warehouse, Inc.                                                              Schedule D, line
    2        238 Mineral Springs Drive                                                            Schedule E/F, line 4.25
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Brittingham Group, LLP



    3.20     Jewelry Warehouse, Inc.                                                             Schedule D, line
    3        238 Mineral Springs Drive                                                           Schedule E/F, line  4.29
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Capital Marketing Concepts




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    3.20     Jewelry Warehouse, Inc.                                                             Schedule D, line
    4        238 Mineral Springs Drive                                                           Schedule E/F, line 4.42
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Clemson Sports Properties



    3.20     Jewelry Warehouse, Inc.                                                             Schedule D, line
    5        238 Mineral Springs Drive                                                           Schedule E/F, line      4.54
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Cumulus



    3.20     Jewelry Warehouse, Inc.                                                             Schedule D, line
    6        238 Mineral Springs Drive                                                           Schedule E/F, line      4.58
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Daily Gamecock



    3.20     Jewelry Warehouse, Inc.                                                             Schedule D, line
    7        238 Mineral Springs Drive                                                           Schedule E/F, line      4.60
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Data Spring



    3.20     Jewelry Warehouse, Inc.                                                             Schedule D, line
    8        238 Mineral Springs Drive                                                           Schedule E/F, line 4.70
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Duplicating Products



    3.20     Jewelry Warehouse, Inc.                                                                Schedule D, line
    9        238 Mineral Springs Drive                                                              Schedule E/F, line   4.71
             Lexington, SC 29073-8167
                                                                                                    Schedule G
                                                                                               E5



    3.21     Jewelry Warehouse, Inc.                                                             Schedule D, line
    0        238 Mineral Springs Drive                                                           Schedule E/F, line      4.81
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               FedEx



    3.21     Jewelry Warehouse, Inc.                                                             Schedule D, line
    1        238 Mineral Springs Drive                                                           Schedule E/F, line      4.88
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Gamecock Central




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    3.21     Jewelry Warehouse, Inc.                                                             Schedule D, line
    2        238 Mineral Springs Drive                                                           Schedule E/F, line  4.103
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Herald Office Systems



    3.21     Jewelry Warehouse, Inc.                                                             Schedule D, line
    3        238 Mineral Springs Drive                                                           Schedule E/F, line 4.104
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Heritage Landscape Services



    3.21     Jewelry Warehouse, Inc.                                                             Schedule D, line
    4        238 Mineral Springs Drive                                                           Schedule E/F, line    4.109
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               IHeart Media



    3.21     Jewelry Warehouse, Inc.                                                              Schedule D, line
    5        238 Mineral Springs Drive                                                            Schedule E/F, line  4.119
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                               J.R. Fallaw Mechanical Services



    3.21     Jewelry Warehouse, Inc.                                                             Schedule D, line
    6        238 Mineral Springs Drive                                                           Schedule E/F, line  4.124
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Jewelers Board of Trade



    3.21     Jewelry Warehouse, Inc.                                                             Schedule D, line
    7        238 Mineral Springs Drive                                                           Schedule E/F, line  4.132
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Krantz Kooling & Heating



    3.21     Jewelry Warehouse, Inc.                                                             Schedule D, line
    8        238 Mineral Springs Drive                                                           Schedule E/F, line    4.147
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               MAC Gases, Inc.



    3.21     Jewelry Warehouse, Inc.                                                             Schedule D, line
    9        238 Mineral Springs Drive                                                           Schedule E/F, line    4.151
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Marlin Leasing




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    3.22     Jewelry Warehouse, Inc.                                                             Schedule D, line
    0        238 Mineral Springs Drive                                                           Schedule E/F, line   4.160
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Mid-Carolina Electric Cooperative



    3.22     Jewelry Warehouse, Inc.                                                             Schedule D, line
    1        238 Mineral Springs Drive                                                           Schedule E/F, line    4.171
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Nexsen Pruet, LLC



    3.22     Jewelry Warehouse, Inc.                                                             Schedule D, line
    2        238 Mineral Springs Drive                                                           Schedule E/F, line    4.204
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               RR Donnelley



    3.22     Jewelry Warehouse, Inc.                                                             Schedule D, line
    3        238 Mineral Springs Drive                                                           Schedule E/F, line    4.220
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Sheppard's Glass



    3.22     Jewelry Warehouse, Inc.                                                             Schedule D, line
    4        238 Mineral Springs Drive                                                           Schedule E/F, line  4.229
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Spirit Communications



    3.22     Jewelry Warehouse, Inc.                                                              Schedule D, line
    5        238 Mineral Springs Drive                                                            Schedule E/F, line   4.1
             Lexington, SC 29073-8167
                                                                                                  Schedule G
                                                                                                The State



    3.22     Jewelry Warehouse, Inc.                                                             Schedule D, line
    6        238 Mineral Springs Drive                                                           Schedule E/F, line   4.258
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Tyco Integrated Security LLC



    3.22     Jewelry Warehouse, Inc.                                                             Schedule D, line
    7        238 Mineral Springs Drive                                                           Schedule E/F, line    4.259
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               ULINE




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    3.22     Jewelry Warehouse, Inc.                                                             Schedule D, line
    8        238 Mineral Springs Drive                                                           Schedule E/F, line   4.261
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Unite U Technologies, Inc.



    3.22     Jewelry Warehouse, Inc.                                                             Schedule D, line
    9        238 Mineral Springs Drive                                                           Schedule E/F, line    4.268
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Windstream



    3.23     Jewelry Warehouse, Inc.                                                             Schedule D, line
    0        238 Mineral Springs Drive                                                           Schedule E/F, line    4.269
             Lexington, SC 29073-8167
                                                                                                Schedule G
                                                                                               WLTX-TV



    3.23     Jewelry Warehouse, Inc.                                                            Schedule D, line
    1        238 Mineral Springs Drive                                                          Schedule E/F, line     4.270
             Lexington, SC 29073-8167
                                                                                                Schedule G
                                                                                               WMFX-FM



    3.23     Jewelry Warehouse, Inc.                                                             Schedule D, line
    2        238 Mineral Springs Drive                                                           Schedule E/F, line    4.273
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Wright Express



    3.23     Jewelry Warehouse, Inc.                                                            Schedule D, line
    3        238 Mineral Springs Drive                                                          Schedule E/F, line     4.274
             Lexington, SC 29073-8167
                                                                                                Schedule G
                                                                                               WWDM



    3.23     Jewelry Warehouse, Inc.                                                             Schedule D, line
    4        238 Mineral Springs Drive                                                           Schedule E/F, line  2.2
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               South Carolina Department of Revenue



    3.23     Jewelry Warehouse, Inc.                                                             Schedule D, line
    5        238 Mineral Springs Drive                                                           Schedule E/F, line    4.44
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Coastal Waters, LLC




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    3.23     Jewelry Warehouse, Inc.                                                             Schedule D, line
    6        238 Mineral Springs Drive                                                           Schedule E/F, line 4.2
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Ace Funding Source, LLC



    3.23     Jewelry Warehouse, Inc.                                                             Schedule D, line
    7        238 Mineral Springs Drive                                                           Schedule E/F, line    4.108
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               IDD USA LLC



    3.23     Jewelry Warehouse, Inc.                                                             Schedule D, line
    8        238 Mineral Springs Drive                                                           Schedule E/F, line    4.175
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               OUIBY, Inc.



    3.23     Jewelry Warehouse, Inc.                                                             Schedule D, line
    9        238 Mineral Springs Drive                                                           Schedule E/F, line    4.159
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Metal Marketplace I, Inc.



    3.24     Jewelry Warehouse, Inc.                                                             Schedule D, line
    0        238 Mineral Springs Drive                                                           Schedule E/F, line 4.202
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Royal Jewelry Manufacting, Inc.



    3.24     Jewelry Warehouse, Inc.                                                             Schedule D, line
    1        238 Mineral Springs Drive                                                           Schedule E/F, line 4.53
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               CT Corporation Systems, as Represenative



    3.24     Jewelry Warehouse, Inc.                                                             Schedule D, line
    2        238 Mineral Springs Drive                                                           Schedule E/F, line 4.150
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Marlin Business Bank



    3.24     Jewelry Warehouse, Inc.                                                              Schedule D, line
    3        238 Mineral Springs Drive                                                            Schedule E/F, line 4.221
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Signature Engraving Systems, Inc.




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    3.24     Jewelry Warehouse, Inc.                                                             Schedule D, line
    4        238 Mineral Springs Drive                                                           Schedule E/F, line    4.137
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Le VIAN Corp.



    3.24     Jewelry Warehouse, Inc.                                                             Schedule D, line
    5        238 Mineral Springs Drive                                                           Schedule E/F, line    4.201
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Roma Design, Inc.



    3.24     Jewelry Warehouse, Inc.                                                             Schedule D, line
    6        238 Mineral Springs Drive                                                           Schedule E/F, line    4.246
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               Tacori Enterprises



    3.24     Jewelry Warehouse, Inc.                                                             Schedule D, line
    7        238 Mineral Springs Drive                                                           Schedule E/F, line    4.262
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               US BANCORP



    3.24     Satterfield's Jewelry, Inc.                                                         Schedule D, line
    8        238 Mineral Springs Circle                                                          Schedule E/F, line 4.271
             Lexington, SC 29073
                                                                                                Schedule G
                                                                                               World's Gold & Diamonds, Inc.



    3.24     Tiger Paw Traditions Jewelry Warehouse                                              Schedule D, line
    9        238 Mineral Springs Drive                                                           Schedule E/F, line 4.139
             Lexington, SC 29073
                                                                                                 Schedule G
                                                                                               Learfield Communications, Inc



    3.25     Traditions Media                                                                    Schedule D, line
    0        238 Mineral Springs Drive                                                           Schedule E/F, line 4.253
             Lexington, SC 29073-8167
                                                                                                 Schedule G
                                                                                               The Lamar Companies




Official Form 106H                                                         Schedule H: Your Codebtors                              Page 32 of 32
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Fill in this information to identify your case:

Debtor 1                      Scott Thomas Satterfield

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF SOUTH CAROLINA

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Self employed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Scott Satterfield

       Occupation may include student        Employer's address
                                                                   238 Mineral Springs Circle
       or homemaker, if it applies.
                                                                   Lexington, SC 29073

                                             How long employed there?         approximately 1 year

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        3,165.50      $               N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      3,165.50            $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1   Scott Thomas Satterfield                                                              Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $      3,165.50         $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
     5e.    Insurance                                                                     5e.        $              0.00     $               N/A
     5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
     5g.    Union dues                                                                    5g.        $              0.00     $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,165.50         $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00     $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
     8e. Social Security                                                                  8e.        $              0.00     $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              3,165.50 + $             N/A = $          3,165.50
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $         3,165.50
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Engaged as an Independent Agent for Liberty Mutual National Life Insurance Company commencing
                             August of 2019. I have the potential to earn $35,000 to $75,000 in my first year.




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
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Fill in this information to identify your case:

Debtor 1                 Scott Thomas Satterfield                                                          Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF SOUTH CAROLINA                                                 MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             950.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Scott Thomas Satterfield                                                                  Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 350.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 180.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 119.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                125.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 50.00
10.   Personal care products and services                                                    10. $                                                  50.00
11.   Medical and dental expenses                                                            11. $                                                 100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                  80.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                 100.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   50.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  125.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: 1099 estimated taxes                                                          16. $                                              1,540.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       3,919.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       3,919.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,165.50
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,919.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                -753.50

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    Scott Thomas Satterfield
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Scott Thomas Satterfield                                              X
              Scott Thomas Satterfield                                                  Signature of Debtor 2
              Signature of Debtor 1

              Date       September 24, 2019                                             Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Scott Thomas Satterfield
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $11,489.46           Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
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 Debtor 1      Scott Thomas Satterfield                                                                    Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                              Wages, commissions,                       $57,200.00           Wages, commissions,
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                       $66,100.00           Wages, commissions,
 (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.
            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 1      Scott Thomas Satterfield                                                                    Case number (if known)



7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Lakeshirts, Inc. v. Scott Thomas                         Debt                        Lexington County Common                    Pending
       Satterfield d/b/a Garnet & Black                         Collection/Judgm            Pleas                                      On appeal
       Traditions                                               ent                         205 East Main Street
                                                                                                                                       Concluded
       2019CP3202135                                                                        Lexington, SC 29072
                                                                                                                                    Foreign Judgment

       Branch Banking & Trust Company                           Debt Collection             Lexington County Common                    Pending
       FKA BB&T v                                                                           Pleas                                      On appeal
       Jewelry Warehouse, Inc.,                                                             205 East Main Street
                                                                                                                                       Concluded
       Satterfield's Jewelry Warehouse,                                                     Lexington, SC 29072
       Inc., Scott Thomas Satterfield
       2019CP3200787

       Summit Sportswear, Inc v. Jewelry                        Debt Collection             Lexington County Common                    Pending
       Warehouse, Inc.                                                                      Pleas                                      On appeal
       2019CP3200731                                                                        205 East Main Street
                                                                                                                                       Concluded
                                                                                            Lexington, SC 29072

       Columbia Sportswear Company,                             Debt Collection             Lexington County Common                    Pending
       Inc. v. Jewelry Warehouse, Inc.                                                      Pleas                                      On appeal
       2019CP3200316                                                                        205 East Main Street
                                                                                                                                       Concluded
                                                                                            Lexington, SC 29072

       Divine Creations, Inc v. Jewelry                         Debt Collection             Lexington County Common                    Pending
       Warehouse, Inc.                                                                      Pleas                                      On appeal
       2017CP3204272                                                                        205 East Main Street
                                                                                                                                       Concluded
                                                                                            Lexington, SC 29072




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3
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 Debtor 1      Scott Thomas Satterfield                                                                    Case number (if known)



       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       The Lamar Companies v. Jewelry                           Debt Collection             Lexington County Common                     Pending
       Warehouse, Inc., Scott Thomas                                                        Pleas                                       On appeal
       Satterfield, Traditions Media                                                        205 East Main Street
                                                                                                                                        Concluded
       2019CP3200690                                                                        Lexington, SC 29072

       Nike USA Inc v. Jewelry                                  Debt Collection             Lexington County Common                     Pending
       Warehouse, Inc., Scott Thomas                                                        Pleas                                       On appeal
       Satterfield                                                                          205 East Main Street
                                                                                                                                        Concluded
       2018CP3202623                                                                        Lexington, SC 29072

       The Game Inc. v. Jewelry                                 Debt Collection             Lexington County Common                     Pending
       Warehouse, Inc.                                                                      Pleas                                       On appeal
       2015CP3203777                                                                        205 East Main Street
                                                                                                                                        Concluded
                                                                                            Lexington, SC 29072
                                                                                                                                     Judgment

       DDRTC Columbiana Station II LLC                          Debt Collection             Lexington County Common                     Pending
       v. Jewelry Warehouse, Inc., et al.                                                   Pleas                                       On appeal
       2016CP3202309                                                                        205 East Main Street
                                                                                                                                        Concluded
                                                                                            Lexington, SC 29072
                                                                                                                                     Judgment

       Palmetto Plaza Associates v.                             Debt Collection             Lexington County Common                     Pending
       Jewelry Warehouse, et al.                                                            Pleas                                       On appeal
       2019CP3200029                                                                        205 East Main Street
                                                                                                                                        Concluded
                                                                                            Lexington, SC 29072
                                                                                                                                     Judgment


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes




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 Debtor 1      Scott Thomas Satterfield                                                                    Case number (if known)



 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                  Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       NewSpring Church                                              $100 weekly for Church Tithe                             Weekly                      $100.00
       PO Box 1407
       Anderson, SC 29622


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                            lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Fox Rothschild LLP                                            Attorney Fees                                            7/22/19                   $2,500.00
       2 W. Washington Street
       Suite 1100
       Greenville, SC 29601
       kmccarrell@foxrothschild.com
       Carolina Gold N Apparel, LLC

       Advantage Credit Counseling Services                          Certificate of Credit Counseling                         7/16/2019                     $24.95
       2403 Sidney Street
       Suite 225
       Pittsburgh, PA 15203
       www.advantageccs.org
       debtor




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17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                               have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                       have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)




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 Debtor 1      Scott Thomas Satterfield                                                                         Case number (if known)



 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

        Jewelry Warehouse, Inc.                                      238 Mineral Springs                        2012 Toyota Prius                         $8,000.00
       238 Mineral Springs                                           Lexington, SC 29073                        Vin# JTDZN3EU8C3026838
       Lexington, SC 29073                                                                                      138,774 Milage

       Jewelry Warehouse, Inc.                                       28 Mineral Springs                         4 year laptop with printer.                 $400.00
       28 Mineral Springs                                            Lexington, SC 29073
       Lexington, SC 29073


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                  Status of the
       Case Number                                                   Name                                                                           case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

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                  A partner in a partnership

                  An officer, director, or managing executive of a corporation

                  An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Jewelry Warehouse, Inc.                                 Retail Jewery Store                              EIN:         XX-XXXXXXX
        28 Mineral Springs Circle
        Lexington, SC 29073                                     Elizabeth Uolla                                  From-To      2005-Present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        Capital Advance Services, LLC                           9/2018
        30 Broad Street, 14th Floor, Suite
        14108
        New York, NY 10004

        Influx Capital LLC                                      8/2018
        32 Court Street, Suite 205
        Brooklyn, NY 11201

        Capital Merchant Services, LLC                          8/2018
        116 Nassau Street, Suite 804
        New York, NY 10038

        Argosy Capital Group LLC                                2018 & 2019
        950 W. Valley Road
        Suite 2900
        Wayne, PA 19087

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Scott Thomas Satterfield
 Scott Thomas Satterfield                                                Signature of Debtor 2
 Signature of Debtor 1

 Date      September 24, 2019                                            Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

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 Fill in this information to identify your case:

 Debtor 1                Scott Thomas Satterfield
                         First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         BB&T                                                 Surrender the property.                              No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                 Yes
    Description of 238 Mineral Springs Circle                               Reaffirmation Agreement.
    property       Lexington, SC 29073-8167                                 Retain the property and [explain]:
    securing debt: Lexington County                                       Continue paying.

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?

 Lessor's name:                                                                                                            No
 Description of leased
 Property:                                                                                                                 Yes

 Lessor's name:                                                                                                            No
 Description of leased
 Property:                                                                                                                 Yes

 Lessor's name:                                                                                                            No

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 1

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 Debtor 1      Scott Thomas Satterfield                                                              Case number (if known)


 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Scott Thomas Satterfield                                                 X
       Scott Thomas Satterfield                                                         Signature of Debtor 2
       Signature of Debtor 1

       Date        September 24, 2019                                               Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                page 2

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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Scott Thomas Satterfield
 Debtor 2                                                                                                  1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of South Carolina                             2. The calculation to determine if a presumption of abuse
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)
                                                                                                           3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from a business, profession, or farm $                     Copy here -> $                              $
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from rental or other real property            $            Copy here -> $                              $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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 Debtor 1     Scott Thomas Satterfield                                                                Case number (if known)



                                                                                                  Column A                     Column B
                                                                                                  Debtor 1                     Debtor 2 or
                                                                                                                               non-filing spouse
  8. Unemployment compensation                                                           $                                     $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                      $                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                    $                            $
                                                                                                  $                            $
                  Total amounts from separate pages, if any.                                  +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $                        +   $                   =   $

                                                                                                                                               Total current monthly
                                                                                                                                               income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>            $


              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                               12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                        13.   $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Scott Thomas Satterfield
                Scott Thomas Satterfield
                Signature of Debtor 1
        Date September 24, 2019
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                  page 2
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 Fill in this information to identify your case:

 Debtor 1            Scott Thomas Satterfield

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of South Carolina

 Case number                                                                                      Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                     12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Go to line 3.
                  Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                         submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Complete Form 122A-1. Do not submit this supplement.
                  Yes.   Check any one of the following categories that applies:
                                                                                            If you checked one of the categories to the left, go to Form
                         I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                         90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                            submit this supplement with the signed Form 122A-1. You
                         I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                         90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                         which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                            homeland defense activity, and for 540 days afterward. 11
                         I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                         I performed a homeland defense activity for at least 90 days,
                                                                                               If your exclusion period ends before your case is closed,
                         ending on                  , which is fewer than 540 days before I
                                                                                               you may have to file an amended form later.
                         file this bankruptcy case.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                 page 1
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     District of South Carolina
 In re       Scott Thomas Satterfield                                                                         Case No.
                                                                                Debtor(s)                     Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,500.00
             Prior to the filing of this statement I have received                                        $                         0.00
             Balance Due                                                                                  $                     2,500.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     September 24, 2019                                                         /s/ Kevin McCarrell
     Date                                                                       Kevin McCarrell
                                                                                Signature of Attorney
                                                                                Fox Rothschild LLP
                                                                                2 W. Washington Street
                                                                                Suite 1100
                                                                                Greenville, SC 29601
                                                                                (864) 751-7600 Fax: (864) 751-7800
                                                                                kmccarrell@foxrothschild.com
                                                                                Name of law firm




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                                                   LOCAL OFFICIAL FORM 1007-1(b) TO SC LBR 1007-1

                                                               United States Bankruptcy Court
                                                                     District of South Carolina
 In re      Scott Thomas Satterfield                                                                       Case No.
                                                                                 Debtor(s)                 Chapter    7


                                           CERTIFICATION VERIFYING CREDITOR MATRIX
         The above named debtor, or attorney for the debtor if applicable, hereby certifies pursuant to South Carolina Local
Bankruptcy Rule 1007-1 that the master mailing list of creditors submitted either on computer diskette, electronically filed via
CM/ECF, or conventionally filed in a typed hard copy scannable format which has been compared to, and contains identical
information to, the debtor's schedules, statements and lists which are being filed at this time or as they currently exist in draft form.

            Master mailing list of creditors submitted via:

                        (a)                  computer diskette

                        (b)           scannable hard copy
                        (number of sheets submitted       )

                        (c)         X     electronic version filed via CM/ECF


 Date: September 24, 2019                                             /s/ Scott Thomas Satterfield
                                                                      Scott Thomas Satterfield
                                                                      Signature of Debtor

 Date: September 24, 2019                                             /s/ Kevin McCarrell
                                                                      Signature of Attorney
                                                                      Kevin McCarrell
                                                                      Fox Rothschild LLP
                                                                      2 W. Washington Street
                                                                      Suite 1100
                                                                      Greenville, SC 29601
                                                                      (864) 751-7600 Fax: (864) 751-7800
                                                                      Typed/Printed Name/Address/Telephone


                                                                      District Court I.D. Number




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                         PARKLAND ASSOCIATES LLC
                        C/O COLLIERS INTERNATIONAL OF SC
                        PO BOX 11610
                        COLUMBIA SC 29211


                         THE STATE
                        1401 SHOP ROAD
                        COLUMBIA SC 29201


                        ACE FUNDING SOURCE, LLC
                        C/O ARIEL BOUSKILA, ESQUIRE
                        BERKOVITCH & BOUSKILA, PLLC
                        40 EXCHANGE PLACE, STE 1306
                        NEW YORK NY 10005


                        ADRENALINE PROMOTIONS
                        PO BOX 2214
                        EUREKA MT 59917


                        ALL IN
                        2611 WINDING BROOK
                        ANDERSON SC 29621


                        ALLIANCE LEGAL PARTNERS
                        9 CHATELAINE
                        NEWPORT COAST CA 92657


                        ALUMNI ASSOCIATION
                        PO BOX 18957
                        ASHEVILLE NC 28814


                        AMERICAN RING SOURCE
                        7855 KENWOOD ROAD
                        CINCINNATI OH 45236


                        AMINCO INTERNATIONAL
                        20571 CRESCENT BAY
                        LAKE FOREST CA 92630


                        ANI INTERNATIONAL
                        125 S. WACKER DRIVE
                        SUITE 1210
                        CHICAGO IL 60606
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                    ARGOSY CAPITAL GROUP LLC
                    950 W. VALLEY ROAD
                    SUITE 2900
                    WAYNE PA 19087


                    ARIEL JEWELRY COMPANY
                    4940 MERRICK ROAD #304
                    MASSAPEQUA PARK NY 11762


                    ASHI DIAMONDS INC.
                    589 FIFTH AVE, 6TH FLOOR
                    NEW YORK NY 10017


                    ASHI DIAMONDS INC.
                    18 EAST 48TH STREET, 14TH
                    NEW YORK NY 10017


                    ATLANTA HOSIERY COMPANY
                    C/O BRYN COLETTE SARVIS
                    3347-B AUGUSTA HWY
                    GILBERT SC 29054


                    AXIS CAPITAL, INC.
                    PO BOX 2555
                    GRAND ISLAND NE 68802


                    AXIS CAPITAL, INC.
                    308 N LOCUST STREET SUITE 100
                    GRAND ISLAND NE 68801


                    BADEN SPORTS INC.
                    34114 21ST AVE SOUTH
                    FEDERAL WAY WA 98003


                    BADEN SPORTS INC.
                    3401 LIND AVE. SW
                    RENTON WA 98057


                    BADGER SPORTSWEAR, INC.
                    PO BOX 890011
                    CHARLOTTE NC 28289


                    BAKER, DENNIS
                    2 ARROW LAKE ROAD
                    WEST COLUMBIA SC 29170
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                    BAKINS VENTURES, LLC
                    1638 KINSMON LANE
                    MARIETTA GA 30062


                    BB&T
                    PO BOX 580302
                    CHARLOTTE NC 28258


                    BB&T
                    C/O JAMES W. POAG, JR.
                    PO BOX 6422
                    WEST COLUMBIA SC 29171


                    BB&T
                    PO BOX 684
                    COLUMBIA SC 29202


                    BB&T
                    1901 ASSEMBLY STREET
                    COLUMBIA SC 29201


                    BECKER, MICHAEL
                    3453 HEATHER DRIVE
                    YORK PA 17408


                    BENCHMARK
                    DRAWER 2929
                    TUSCALOOSA AL 35403


                    BETHEL INTERNATIONAL
                    4610 BRAGG BLVD
                    FAYETTEVILLE NC 28303


                    BIG JEWELRY
                    115 WEST 30TH STREET, 8TH FLOOR
                    NEW YORK NY 10001


                    BRANCH BANKING & TRUST COMPANY FKA BB&T
                    C/O JERRY MYERS
                    PO BOX 176010
                    RALEIGH NC 27619


                    BRETT HAND, INC.
                    19399 HELENBERG ROAD
                    COVINGTON LA 70433
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                    BRICE CALDWELL, INC.
                    1888 MAIN STREET, SUITE C #101
                    MADISON MS 39110


                    BRITTINGHAM GROUP, LLP
                    50 STATE STREET
                    WEST COLUMBIA SC 29169


                    BROWN, JEFFREY
                    3209 SW 137 COURT
                    OKLAHOMA CITY OK 73170


                    C.G. CREATIONS
                    PO BOX 1001
                    PEARL RIVER NY 10965


                    CAPITAL ADVANCE SERVICES, LLC
                    ONE EVERTRUST PLAZA, SUITE 1401
                    JERSEY CITY NJ 07302


                    CAPITAL ADVANCE SERVICES, LLC
                    30 BROAD STREET, 14TH FLOOR, SUITE 14108
                    NEW YORK NY 10004


                    CAPITAL MARKETING CONCEPTS
                    696 1ST AVE N
                    SAINT PETERSBURG FL 33701


                    CAPITAL MERCHANT SERVICES, LLC
                    116 NASSAU STREET, SUITE 804
                    NEW YORK NY 10038


                    CAPITAL ONE
                    PO BOX 71083
                    CHARLOTTE NC 28272


                    CAPITAL ONE
                    PO BOX 30281
                    SALT LAKE CITY UT 84130


                    CARGO HOLD, INC.
                    PO BOX 239
                    CHARLESTON SC 29402
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                    CAROLINA FIN
                    930 BATTENKILL COURT
                    LEXINGTON SC 29072


                    CAROLINA RETAIL PACKAGING, INC.
                    C/O SCOTT MANGE
                    PO BOX 743
                    WHITE ROCK SC 29177


                    CB INDIGO
                    PO BOX 4499
                    BEAVERTON OR 97076-4000


                    CHEM ART
                    PO BOX 845041
                    BOSTON MA 02284


                    CHINA PEARL
                    10220 NORRIS AVE
                    PACOIMA CA 91331


                    CHURCH HILL CLASSICS
                    594 PEPPER STREET
                    MONROE CT 06468


                    CITI CARDS
                    PO BOX 70166
                    PHILADELPHIA PA 19176


                    CITI CARDS CBNA
                    PO BOX 6241
                    SIOUX FALLS SD 57117


                    CITIZENS WATCH COMPANY
                    1000 WEST 190TH STREET
                    TORRANCE CA 90502


                    CLASSIC IMPORTS, INC.
                    32 WEST 39TH STREET
                    NEW YORK NY 10018


                    CLEMSON SPORTS PROPERTIES
                    IMG-LEARFIELD
                    2400 DALLAS PARKWAY, SUITE 500
                    PLANO TX 75093
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                    CLEMSON SPORTS PROPERTIES
                    135 OLD GREENVILLE HIGHWAY # 203
                    CLEMSON SC 29631


                    COAST APPAREL, LLC
                    PO BOX 9324
                    GREENVILLE SC 29604


                    COASTAL WATERS, LLC
                    C/O CHARLES W. WINFIELD
                    PERRY & WINFIELD, PA
                    PO BOX 80281
                    STARKVILLE MS 39759


                    COLLEGE COVERS
                    PO BOX 336
                    HARTINGTON NE 68739


                    COLLEGIATE ENTERPRISES
                    PO BOX 682
                    NORTH MYRTLE BEACH SC 29597


                    COLLEGIATE KIDS BOOKS, LLC
                    3956 2ND STREET DRIVE NW
                    HICKORY NC 28601


                    COLOR CRAFT
                    45 WEST 45TH STREET, 10TH FLOOR
                    NEW YORK NY 10036


                    COLUMBIA SPORTSWEAR COMPANY, INC.
                    C/O AMANDA M . SCOTT
                    PO BOX 743
                    WHITE ROCK SC 29177


                    COLUMBIA SPORTSWEAR COMPANY, INC.
                    PO BOX 935641
                    ATLANTA GA 31193


                    COSERV
                    PO BOX 100879
                    ATLANTA GA 30384
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                    CRAFTIQUE
                    PO BOX 4422
                    CHATTANOOGA TN 37405


                    CREATIVE REALITIES/WIRELESS RONIN TECH
                    22 AUDREY PL
                    GEORGETOWN SC 29440


                    CT CORPORATION SYSTEMS, AS REPRESENATIVE
                    330 N. BRAND BLVD STE 700
                    GLENDALE CA 91203


                    CUMULUS
                    1301 GERVAIS ST
                    COLUMBIA SC 29201


                    CUSTOM BRANDED SPORTSWEAR
                    C/O WYLIE CLARKSON
                    PO BOX 287
                    COLUMBIA SC 29202


                    CUSTOM BRANDED SPORTSWEAR
                    PO BOX 413245
                    KANSAS CITY MO 64141


                    CUSTOM BRANDED SPORTSWEAR
                    C/O TRACE DILLON
                    THE DILLON LAW FIRM
                    2346 WISTERIA DRIVE, SUITE 220
                    SNELLVILLE GA 30078


                    CUSTOM DECOR
                    PO BOX 336
                    CHESWOLD DE 19936


                    CUTTER & BUCK
                    C/O CYNTHIA MARIE LOVER
                    PO BOX 6774
                    MYRTLE BEACH SC 29572


                    CUTTER & BUCK
                    PO BOX 34855
                    SEATTLE WA 98124
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                    DAILY GAMECOCK
                    1400 GREENE STREET
                    COLUMBIA SC 29208


                    DARLING IMPORTS
                    PO BOX 564
                    HAMPTON GA 30228


                    DATA SPRING
                    56 PARKWAY COMMONS WAY
                    GREER SC 29650


                    DAYNA DESIGNS, LLC
                    PO BOX 2307
                    ROCKVILLE MD 20847


                    DAYNA DESIGNS, LLC
                    RR BEACH ASSOCIATES
                    95 WOLF CREEK BLVD., SUITE 2
                    DOVER DE 19901


                    DDRTC COLUMBIANA STATION II LLC
                    C/O W. CLIFF MOORE, III
                    PO BOX 2285
                    COLUMBIA SC 29202


                    DIAMOND COUNSEL OF AMERICA
                    120 BROADWAY
                    NEW YORK NY 10271


                    DIAMOND GRAPHICS, LLC/MARIE CLAYBORNE
                    611 LONGS POND ROAD
                    LEXINGTON SC 29073


                    DISBROW, TOM
                    4048 FLORENTINE ROAD
                    WEST COLUMBIA SC 29170


                    DISCOVER BANK
                    PO BOX 15316
                    WILMINGTON DE 19850-5000


                    DISTINCTIVE HOMEWORKS, LLC
                    342 AMSTAR ROAD
                    COLUMBIA SC 29212
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                    DIVINE CREATIONS, INC
                    C/O AMANDA M. SCOTT
                    PO BOX 743
                    WHITE ROCK SC 29177


                    DIVINE CREATIONS, INC
                    2027 EAST BARDEN ROAD
                    CHARLOTTE NC 28226


                    DONOVAN, JOHN
                    347 CLERMONT LAKE DRIVE
                    LEXINGTON SC 29073


                    DUPLICATING PRODUCTS
                    150 LOFT CT
                    WEST COLUMBIA SC 29169


                    E5
                    FILE #50516
                    LOS ANGELES CA 90074


                    EAST BAY AIR LLC
                    DIXON HUGHES PLLC
                    525 EAST BAY STREET
                    CHARLESTON SC 29403


                    EDIBLE ARRANGEMENTS
                    1788 SOUTH LAKE DRIVE
                    SUITE 170
                    LEXINGTON SC 29073


                    ELEKTROPLATE
                    5510 ABRAMS ROAD
                    DALLAS TX 75214


                    EMA JEWELRY, INC.
                    246 W. 38TH STREET
                    SUITE 600
                    NEW YORK NY 10018


                    ESP RECEIVABLES MANAGEMENT
                    2346 WISTERIA DRIVE, SUITE 220
                    SNELLVILLE GA 30078
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                    EVC, INC. COZY COVER
                    2306 E. SUPERIOR STREET
                    DULUTH MN 55812


                    EVERGREEN
                    7110 WRIGHTSVILLE AVE
                    WILMINGTON NC 28403


                    FANZ ZONE
                    13100 HWY 144E #236
                    RICHMOND HILL GA 31324


                    FBF ORIGINALS
                    1201 S. OHIO STREET
                    MARTINSVILLE IN 46151


                    FEDEX
                    150 QUEENS PARKWAY
                    WEST COLUMBIA SC 29169


                    FLIRTIES
                    2219 CR 220 SUITE 316
                    MIDDLEBURG FL 32068


                    FREAKER USA, INC.
                    1121 S. FRONT STREET
                    WILMINGTON NC 28401


                    FROM THE HEART ENTERPRISES
                    2374 WEST NEW ORLEANS STREET
                    BROKEN ARROW OK 74011


                    GABRIEL BROTHERS
                    545 WEST 45TH STREET, 3RD FLOOR
                    NEW YORK NY 10036


                    GAME WEAR
                    70 HUDSON STREET
                    SECOND FLOOR
                    HOBOKEN NJ 07030


                    GAMECOCK CENTRAL
                    1542 STERLING OAKS DRIVE
                    MONCKS CORNER SC 29461
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                    GAMEDAY IRONWORKS
                    8821 W. 6TH STREET
                    STILLWATER OK 74074


                    GARNET & BLACK TRADITIONS
                    238 MINERAL SPRINGS DRIVE
                    LEXINGTON SC 29073


                    GARRISON, NICOLAS
                    12 S CHERRY HILLS
                    EDWARDSVILLE IL 62025


                    GEAR FOR SPORTS, INC.
                    9700 COMMERCE PARKWAY
                    LENEXA KS 66219


                    GEAR FOR SPORTS, INC.
                    12193 COLLECTION CENTER DRIVE
                    CHICAGO IL 60693


                    GEMS ONE CORPORATION
                    16 W 46TH STREET
                    6TH FLOOR
                    NEW YORK NY 10036


                    GEMS ONE CORPORATION
                    25 W 45TH STREET STE 1200
                    NEW YORK NY 10036


                    GLIK IMPORTS
                    1255 PHILLIPS SQUARE
                    SUITE 906
                    MONTREAL, QC H3B 3G1


                    GLOBAL BRAND GROUP/KHQ BRANDED
                    350 5TH AVENUE
                    9TH FLOOR
                    NEW YORK NY 10118


                    GLOBAL BRAND GROUP/KHQ BRANDED
                    C/O E. LLOYD WILCOX, II
                    PO BOX 1909
                    FLORENCE SC 29503
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                    GLOBAL FASHION WORKS, LLC/ FLYING COLORS
                    795 CRONWELL PARK DRIVE
                    SUITE B
                    GLEN BURNIE MD 21061


                    GOLD LANCE
                    ATTN: RHONDA CHESTER
                    21338 NEWTWORK PLACE
                    CHICAGO IL 60673


                    GREENE, DAVID
                    2811 HOLT DRIVE
                    FLORENCE SC 29505


                    GREENVILLE NEWS
                    PO BOX 677566
                    DALLAS TX 75267


                    GRI-EQY (SPARKLEBERRY SQUARE) LLC
                    C/O THOMAS W. BUNCH, II
                    141 PALHAM DRIVE, SUITE F
                    COLUMBIA SC 29209


                    HADLEY-ROMA
                    PO BOX 1130
                    LARGO FL 33779


                    HARWELL, SHANNON
                    143 TORREY GLENN DRIVE
                    LEXINGTON SC 29072


                    HEDSTROM PLASTICS
                    PO BOX 951924
                    CLEVELAND OH 44193


                    HERALD OFFICE SYSTEMS
                    90 N. SHORECREST ROAD #A
                    COLUMBIA SC 29209


                    HERITAGE LANDSCAPE SERVICES
                    141 PEACHTREE STREET
                    GILBERT SC 29054
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                    HIGHLAND GRAPHICS, INC.
                    PO BOX 809209
                    CHICAGO IL 60680


                    HUDSON JEWELRY MFG CO.
                    PO BOX 1398
                    CHILHOWIE VA 24319


                    ICON OUTDOORS LLC
                    C/O CYNTHIA MARIE LOVER
                    PO BOX 6774
                    MYRTLE BEACH SC 29572


                    ICON OUTDOORS, LLC
                    PO BOX 17012
                    BALTIMORE MD 21297


                    IDD USA LLC
                    535 5TH AVE FLOOR 20
                    NEW YORK NY 10017


                    IHEART MEDIA
                    316 GREYSTONE BLVD.
                    COLUMBIA SC 29210


                    IMAGE ONE
                    2201 BROOKWOOD DRIVE
                    SUITE 112
                    LITTLE ROCK AR 72202


                    IMAGE ONE
                    C/O THOMAS BURNS
                    HANCOCK LAW FIRM
                    610 EAST 6TH STREET
                    LITTLE ROCK AR 72202


                    IMPERIAL- DELTAH, INC.
                    795 WATERMAN AVE
                    EAST PROVIDENCE RI 02914


                    INDIGO
                    GENESIS FS CARD SERVCIES
                    PO BOX 4477
                    BEAVERTON OR 97076
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                    INFLUX CAPITAL LLC
                    32 COURT STREET, SUITE 205
                    BROOKLYN NY 11201


                    INNOVATIVE ADHESIVES, LLC
                    PO BOX 1719
                    CARY NC 27512


                    INTERINGS, INC.
                    450 7TH AVE. SUITE 1906
                    NEW YORK NY 10123


                    INTERINGS, INC.
                    62 WEST 47TH STREET
                    SUITE 909
                    NEW YORK NY 10036


                    INTERNAL REVENUE SERVICE
                    CENTRALIZED INSOLVENCY OPERATIONS
                    PO BOX 7346
                    PHILADELPHIA PA 19101


                    INTERNATIONAL DIAMOND DISTRIBUTORS
                    535 FIFTH AVE, 20TH FLOOR
                    NEW YORK NY 10017


                    INTERNATIONAL IMPORT CORP.
                    20 WEST 47TH STREET #808
                    NEW YORK NY 10036


                    INTERNATIONAL INPORT CORP.
                    22 WEST 48TH STREET
                    NEW YORK NY 10036


                    IPG INDEPENDANT PUBLISHERS GROUP
                    814 NORTH FRANKLIN STREET
                    CHICAGO IL 60610


                    IRON MOUNTAIN
                    PO BOX 27128
                    NEW YORK NY 10087


                    J.R. FALLAW MECHANICAL SERVICES
                    521 ISIAH HALL ROAD
                    GILBERT SC 29054
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                    JAMES HAGEN DIST. CO
                    PO BOX 730356
                    ORMOND BEACH FL 32173


                    JARDINE ASSOCIATES, LLC
                    200 COMPASS CIRCLE
                    NORTH KINGSTOWN RI 02852


                    JAYCEE MERCHANDISING, LLC
                    5210 LONG PRAIRIE # 322
                    FLOWER MOUND TX 75028


                    JAYDEN STAR, LLC
                    385 FIFTH AVE
                    SUITE 507
                    NEW YORK NY 10016


                    JEWELERS BOARD OF TRADE
                    95 JEFFERSON BLVD
                    WARWICK RI 02888


                    JEWELRY WAREHOUSE, INC.
                    238 MINERAL SPRINGS DRIVE
                    LEXINGTON SC 29073-8167


                    JUBA, ROBERT
                    527 MATTAMUSHKEET DRIVE
                    LITTLE RIVER SC 29566


                    KELLEE DESIGNS
                    2611 N CENTER STREET
                    HICKORY NC 28601


                    KENCRAFT, INC.
                    708 S. UTAH VALLEY DRIVE
                    AMERICAN FORK UT 84003


                    KENT PORTH NATURE PHOTOGRAPHY
                    107-B VISTA OAKS DRIVE
                    LEXINGTON SC 29072


                    KIM INTERNATIONAL
                    14841 LANDMARK BLVD. SUITE 200
                    DALLAS TX 75240
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                    KNIGHT, MARILYN
                    137 ROBIN ROOST LANE
                    GASTON SC 29053


                    KOLB, LOUIS
                    430 GREENGARDEN DRIVE
                    CHAPIN SC 29036


                    KRANTZ KOOLING & HEATING
                    1612 ANTHONY DRIVE WEST
                    WEST COLUMBIA SC 29172


                    LAFOSSE, ADRIAN
                    12558 ASHLAND DRIVE
                    COLUMBIA SC 29229


                    LAKESHIRTS, INC.
                    C/O HEATHER KOERING
                    4200 COUNTRY ROAD 42 WEST
                    SAVAGE MN 55378


                    LAKESHIRTS, INC.
                    PO BOX 1906
                    DETROIT LAKES MN 56502


                    LASHBROOK
                    PO BOX 90
                    SALT LAKE CITY UT 84110


                    LE VIAN CORP.
                    235 GREAT NECK ROAD
                    GREAT NECK NY 11021


                    LEADING JEWELERS GUILD, INC.
                    PO BOX 4220
                    CULVER CITY CA 90231


                    LEARFIELD COMMUNICATIONS, INC
                    C/O AMANDA M. SCOTT
                    PO BOX 743
                    WHITE ROCK SC 29177
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                    LEARFIELD COMMUNICATIONS, INC
                    C/O PARNELL & CRUM PA
                    PO BOX 2189
                    MONTGOMERY AL 36102


                    LITTLE KING MFG. CO. INC.
                    11705 HWY 231
                    UNION GROVE AL 35175


                    LITTON, KIRK
                    313 CRICKENTREE DRIVE
                    BLYTHEWOOD SC 29016


                    LOGO CHAIR COMPANY
                    117 SOUTHEAST PARKWAY
                    FRANKLIN TN 37064


                    LOUDMOUTH GOLF, LLC
                    7512 DR. PHILLIPS BLVD # 50879
                    ORLANDO FL 32819


                    LOW COST LUXURY
                    7500 BELLAIRE BLVD
                    HOUSTON TX 77036


                    LUCAS, KEVIN
                     2231 NW BROAD STREET
                    SUITE F
                    MURFREESBORO TN 37129


                    M. SCHAMROTH & SONS
                    580 FIFTH AVE, SUITE 2304
                    NEW YORK NY 10036


                    MAC GASES, INC.
                    101 BOMBAY DRIVE
                    COLUMBIA SC 29209


                    MAGNOLIA LANE
                    1920 WOODLANDS INDUSTRIAL DRIVE
                    TRUSSVILLE AL 35173


                    MARATHON COMPANY
                    PO BOX 2097
                    ATTLEBORO MA 02703
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                    MARATHON COMPANY
                    PO BOX 419
                    ATTLEBORO MA 02703


                    MARLIN BUSINESS BANK
                    2795 E COTTONWOOD PARKWAY
                    SALT LAKE CITY UT 84121


                    MARLIN LEASING
                    300 FELLOWSHIP ROAD
                    MOUNT LAUREL NJ 08054-1201


                    MARYLAND BRAND MANAGEMENT, INC.
                    1801 PORTAL STREET
                    BALTIMORE MD 21224


                    MASCOT BOOKS
                    620 HERNDON PARKWAY
                    #320
                    HERNDON VA 20170


                    MASIK COLLEGIATE FRAGRANCES LLC
                    1010 NORTHERN BLVD
                    GREAT NECK NY 11021


                    MCCATHERN, JACK JR.
                    640 WISE FERRY ROAD
                    LEXINGTON SC 29072


                    MEMORY COMPANY
                    DBA COLLEGIATE COLLECTABLES
                    PO BOX 610
                    PHENIX CITY AL 36868


                    MERCHANT ADVANCE
                    C/O ARIEL BOUSKILA, ESQUIRE
                    BERKOVITCH & BOUSKILA, PLLC
                    40 EXCHANGE PLACE, SUITE 1306
                    NEW YORK NY 10005


                    MERCURY CARD/FB&T
                    CARD SERVICES
                    84064
                    COLUMBUS GA 31908
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                    MERCURY CARD/FB&T
                    700 22ND AVE SOUTH
                    BROOKINGS SD 57006


                    METAL MARKETPLACE I, INC.
                    718 SANSOM STREET
                    PHILADELPHIA PA 19106


                    MID-CAROLINA ELECTRIC COOPERATIVE
                    7524 BROAD RIVER ROAD
                    IRMO SC 29063


                    MIDAS CHAIN, INC
                    151 VETERANS DRIVE
                    NORTHVALE NJ 07647


                    MOHAN'S INC.
                    4062 PEACHTREE ROAD, SUITE A-113
                    ATLANTA GA 30319


                    MOHAN'S INC.
                    NINE DUNWOODY PARKWAY, STE #114
                    ATLANTA GA 30338


                    MUD PIE, LLC
                    4893 LEWIS ROAD, STE A
                    STONE MOUNTAIN GA 30083


                    MUSCO, JOSEPH
                    66 OAK FARM DRIVE
                    COLCHESTER CT 06415


                    NATIONAL JEWELRY CO, INC.
                    PO BOX 710
                    RUSTON LA 71273


                    NATIONAL JEWELRY CO, INC.
                    PO BOX 1248
                    RUSTON LA 71273


                    NATIONAL JEWELRY CO. INC.
                    101 REYNOLDS DRIVE
                    RUSTON LA 71273
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                    NATIVE SUN SPORTS
                    4590 62ND AVE N
                    PINELLAS PARK FL 33781


                    NED STRAUSS & ASSOCIATES
                    505 TIMBERTRAIL COURT
                    COLUMBIA SC 29212


                    NEIL ENTERPRISES, INC.
                    3500 LACY ROAD, SUITE 220
                    DOWNERS GROVE IL 60515


                    NEVES INDUSTRIES, LLC
                    24229 TULLAMORE DRIVE
                    DAPHNE AL 36526


                    NEW WORLD GRAPHICS
                    145 COILE DRIVE
                    ATHENS GA 30606


                    NEXSEN PRUET, LLC
                    1200 MAIN STREET
                    COLUMBIA SC 29201


                    NIKE TEAM SPORTS
                    PO BOX 277482
                    ATLANTA GA 30384


                    NIKE USA INC
                    C/O AMANDA SCOTT
                    PO BOX 743
                    WHITE ROCK SC 29177


                    NOBLE GIFT PACKAGING
                    20 SAND PARK ROAD
                    CEDAR GROVE NJ 07009


                    NOBLE GIFT PACKING
                    141 LANZA AVE, BLVD. #5
                    GARFIELD NJ 07026


                    OAKLEY, INC.
                    C/O AMANDA M. SCOTT
                    PO BOX 743
                    WHITE ROCK SC 29177
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                    OAKLEY, INC.
                    C/O PARNELL & CRUM, PA
                    PO BOX 2189
                    MONTGOMERY AL 36102


                    OUIBY, INC.
                    1719 APLINE AVE
                    BOULDER CO 80304


                    OVERNIGHT MOUNTINGS
                    88758 EXPEDITE WAY
                    CHICAGO IL 60695


                    PACIFIC AND SOUTHERN, LLC DBA WLTX TV
                    C/O WYLIE CLARKSON
                    PO BOX 287
                    COLUMBIA SC 29202


                    PALMETTO FIRE & SAFETY
                    293 POPES LANE
                    LEXINGTON SC 29072


                    PALMETTO PLAZA ASSOCIATES
                    514 YACHTING ROAD
                    LEXINGTON SC 29072


                    PALMETTO PLAZA ASSOCIATES
                    C/O JEFFREY L. SILVER, ESQUIRE
                    700 HUGER STREET, SUITE 102
                    COLUMBIA SC 29202


                    PARKLAND ASSOCIATES
                    C/O STUART LEE
                    PO BOX 100200
                    COLUMBIA SC 29202


                    PARKLAND PLAZA, LLC
                    C/O COLLIERS INTERNATIONAL SC
                    1301 GERVAIS STREET, SUITE 1200
                    COLUMBIA SC 29201


                    PARTY ANIMAL
                    909 CROCKER ROAD
                    WESTLAKE OH 44145
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                    PENNINGTON & BAILES, LLC
                    5745 SW 75TH STREET
                    GAINESVILLE FL 32608


                    PEPCO POMS
                    PO BOX 950
                    WHARTON TX 77488


                    PORTFOLIO RECOVERY ASSOC
                    RIVERSIDE COMMERCE CENTER
                    120 CORPORATE BLVD. STE 100
                    NORFOLK VA 23502


                    POTTS, KIM
                    212 BOSWORTH FIELD COURT
                    COLUMBIA SC 29212


                    PRICE, HARRIET
                    8 WHETSTONE CREEK COURT
                    IRMO SC 29063


                    PRINTGEAR
                    1769 AIRPORT BLVD
                    CAYCE SC 29033


                    PROMARK
                    14052 VALLEY DRIVE
                    LONGMONT CO 80504


                    PSI91, INC.
                    1 FEDERAL STREET
                    BLDG 101
                    SPRINGFIELD MA 01105


                    PUNJANI, AZIZ
                    1232 VALENCIA LANE
                    LEWISVILLE TX 75067


                    PYE BARKER
                    PO BOX 69
                    ROSWELL GA 30077


                    QUALITY GOLD OF CINCINNATI
                     PO BOX 46705
                    CINCINNATI OH 45246
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                    QUALITY GOLD OF CINCINNATI
                    PO BOX 18490
                    FAIRFIELD OH 45018


                    R.F.S.J., INC.
                    654 WEST MAIN STREET
                    MOUNT PLEASANT PA 15666


                    RAPP'S PACKAGING
                    1035 NEW CASTLE STREET
                    BUTLER PA 16001


                    RECEIVABLE MANAGEMENT COMPANY
                    1601 SHOP ROAD, STE D
                    COLUMBIA SC 29201


                    REMBRANDT QUALITY CHARMS
                    370 S. YOUNGS ROAD
                    BUFFALO NY 14221


                    RICO INDUSTRIES INC.
                    8030 SOLUTIONS CENTER
                    CHICAGO IL 60677


                    RICO INDUSTRIES INC.
                    1712 S. MICHIGAN AVE
                    CHICAGO IL 60616


                    RIVALRY LLC
                    PO BOX 1353
                    ALBUQUERQUE NM 87121


                    ROMA DESIGN, INC.
                    PO BOX 1130
                    LARGO FL 34649


                    ROMA DESIGN, INC.
                    A DIVISION OF NAVITAS LEASE CORP
                    814 A1A N STE 205
                    PONTE VEDRA BEACH FL 32082


                    ROYAL JEWELRY MANUFACTING, INC.
                    1001 AVENUE OF THE AMERICAS ROOM 7
                    NEW YORK NY 10018
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                    ROYCE APPAREL, INC.
                    PO BOX 1036
                    CHARLOTTE NC 28201


                    RR DONNELLEY
                    1210 KEY ROAD
                    COLUMBIA SC 29201


                    RUBIN HILL, INC.
                    PO BOX 28
                    FLOURTOWN PA 19031


                    S A KITSINIAN INC.
                    6743 ODESSA AVE
                    VAN NUYS CA 91406


                    S&P TRADING INC.
                    2500 E. INDEPENDENCE BLVD
                    SUITE BB304
                    CHARLOTTE NC 28205


                    SALESONE INTERNATIONAL LLC
                    16 FITCH STREET
                    NORWALK CT 06855


                    SAMUEL SPIL CO.
                    PO BOX 220074
                    CHARLOTTE NC 28222


                    SAMUEL SPIL CO.
                    PO BOX 78282
                    CHARLOTTE NC 28271


                    SATTERFIELD'S JEWELRY, INC.
                    238 MINERAL SPRINGS CIRCLE
                    LEXINGTON SC 29073


                    SATTERFIELD, KEN
                    1125 W. MCCARTY STREET
                    JEFFERSON CITY MO 65109


                    SATTERFIELD, KEN G.
                    ALICE AND KEN SATTERFIELD
                    1125 W. MCCARTY STREET
                    JEFFERSON CITY MO 65109
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                    SAVAGE, TIMOTHY
                    3212 SW 137TH COURT
                    OKLAHOMA CITY OK 73170


                    SCA COLLECTIONS
                    300 E. ARLINGTON BLVD.
                    GREENVILLE NC 27858


                    SCHOOL CUTS
                    PO BOX 3166
                    WEST COLUMBIA SC 29171


                    SCI INTERNATIONAL, INC.
                    DEPT NO. 556
                    PO BOX 8000
                    BUFFALO NY 14267


                    SCOTT SATTERFIELD



                    SEASONS JEWELRY
                    616 SOUTH MAIN STREET
                    SPRINGFIELD TN 37172


                    SEASONS JEWELRY
                    111 CHURCH STREET, SUITE 300
                    LEXINGTON KY 40507


                    SEIKO CORPORATION OF AMERICA
                    C/O CRAIG H. ALLEN
                    PO BOX 10854
                    GREENVILLE SC 29603


                    SEIKO TIME
                    1111 MACARTHUR BLVD.
                    MAHWAH NJ 07430


                    SEWING CONCEPTS
                    5710 Q STREET
                    OMAHA NE 68117


                    SHAH DIAMONDS, INC.
                    22 W. 48TH STREET
                    SUITE 600
                    NEW YORK NY 10036
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                    SHEPPARD'S GLASS
                    2519 PLATT SPRINGS ROAD
                    WEST COLUMBIA SC 29169


                    SIGNATURE ENGRAVING SYSTEMS, INC.
                    120 WHITING FARMS ROAD
                    NEW YORK NY 10104


                    SIMPLY DIAMONDS
                    529 FIFTH AVE.
                    SUITE 1700
                    NEW YORK NY 10017


                    SMACK APPAREL COMPANY
                    2310 W. STATE STREET
                    TAMPA FL 33609


                    SOUTH CAROLINA DEPARTMENT OF REVENUE
                    PO BOX 12265
                    COLUMBIA SC 29211


                    SOUTH CAROLINA SHOPS
                    1314 ROSEWOOD DRIVE
                    COLUMBIA SC 29201


                    SOUTHEASTERN FINDINGS
                    1733 MONTREAL CIRCLE
                    TUCKER GA 30084


                    SOUTHERN COLLEGIATE APPAREL LLC
                    3125 INTERSTATE CIRCLE
                    COTTONDALE AL 35453


                    SOUTHERN COLLEGIATE APPAREL LLC
                    C/O WILSON F. GREEN
                    FLEENOR & GREEN LLP
                    1657 MCFARLAND BLVD N. STE G2A
                    TUSCALOOSA AL 35406


                    SPARKLE LIFE LLC
                    5745 SW 75TH STREET
                    SUITE 249
                    GAINESVILLE FL 32608
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                    SPECTRUM REACH
                    PO BOX 952993
                    SAINT LOUIS MO 63195


                    SPIRIT COMMUNICATIONS
                    1640 FREED STREET
                    COLUMBIA SC 29201


                    SPIRIT PRODUCTS LTD
                    PO BOX 729
                    HAVERHILL MA 01831


                    SPORTS LICENSING SOLUTIONS LLC
                    PO BOX 745175
                    ATLANTA GA 30374


                    SRB TRADING
                    7 WEST 45TH STREET #1706
                    NEW YORK NY 10036


                    STAR FISH VISION
                    10776 GREENVILLE HWY
                    WELLFORD SC 29385


                    STAR RING, INC.
                    9256 OWENSMOUTH AVE
                    CHATSWORTH CA 91311


                    STEPHEN JOSEPH
                    MARCUS & SHAW
                    3663 WINGFOOT DRIVE
                    SOUTHPORT NC 28461


                    STERLING CONTRACT PACKAGING
                    PO BOX 16159
                    BOILING SPRINGS SC 29316


                    STERLING CONTRACT PACKAGING
                    1875 MOORE DUNCAN HWY
                    MOORE SC 29369


                    STERLING REPUTATION INC.
                    10116 WEST OAKLAND PARK BLVD.
                    FORT LAUDERDALE FL 33351
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                    STOCKDALE TECHNOLOGIES INC.
                    104 COMMERCE STREET
                    LAKE MARY FL 32746


                    STONE ARMORY
                    PO BOX 26123
                    CLEVELAND OH 44126


                    STRATEGIC FUNDING SOURCE, INC.
                    C/O KEVIN MALLOY
                    1441 MAIN STREET, SUITE 1200
                    COLUMBIA SC 29201


                    STRATEGIC FUNDING SOURCE, INC.
                    C/O RICHARD J. HOWARD, ESQUIRE
                    120 WEST 45TH STREET, 2ND FLOOR
                    NEW YORK NY 10036


                    STRATEGIC FUNDING SOURCE, INC.
                    1501 BROADWAY STE 360
                    NEW YORK NY 10036


                    STUDEX CORP
                    521 ROSECRANS AVE.
                    GARDENA CA 90248


                    STULLER SETTINGS
                    PO BOX 87777
                    LAFAYETTE LA 70598


                    STULLER SETTINGS
                    C/O CISCO, INC.
                    1702 TOWNHURST DRIVE
                    HOUSTON TX 77043


                    SUMMIT SPORTSWEAR, INC
                    C/O ERIC HALE
                    PO BOX 287
                    COLUMBIA SC 29202


                    SUMMIT SPORTSWEAR, INC.
                    800 W. 47TH STREET
                    KANSAS CITY MO 64112
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                    SYNCB/LOWES
                    PO BOX 965036
                    ORLANDO FL 32896


                    TACHE' JEWELRY
                    18 EAST 48TH STREET 4TH FLOOR
                    NEW YORK NY 10017


                    TACORI ENTERPRISES
                    1736 GARDENA AVE
                    GLENDALE CA 91204


                    TAG-TICS INC.
                    4620 WEST TENNYSON AVE
                    TAMPA FL 33629


                    TEAGAN COMPANY
                    5347 FACTORS WALK DRIVE
                    SANFORD FL 32771


                    TEAGUE, WANDA & ROGER
                    101 LAND OF LAKES BLVD
                    LEXINGTON SC 29073


                    TEAM EFFORT INC.
                    PO BOX 243
                    CLARION IA 50525


                    TEAM GOLF
                    2221 LUNA ROAD
                    CARROLLTON TX 75006


                    THE GAME INC
                    C/O CRAIG H. ALLEN
                    605 PETTIGRU STREET
                    GREENVILLE SC 29601


                    THE GAME LLC
                    PO BOX 932255
                    ATLANTA GA 31193


                    THE GAME LLC
                    PO BOX 116469
                    ATLANTA GA 30368
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                    THE LAMAR COMPANIES
                    C/O JAMES DERRICK JACKSON
                    PO BOX 50124
                    COLUMBIA SC 29250


                    THOMPSON, STACY
                    713 MOSS CREEK DRIVE
                    CAYCE SC 29033


                    TIGER PAW TRADITIONS JEWELRY WAREHOUSE
                    238 MINERAL SPRINGS DRIVE
                    LEXINGTON SC 29073


                    TIGERTOWN GRAPHICS/SOUTHERN FRIED COTTON
                    PO BOX 381
                    CLEMSON SC 29633


                    TRADITION SCARVES, ASR 7, LLC
                    3321 TRILLIUM WHORL COURT
                    RALEIGH NC 27607


                    TRADITIONS MEDIA
                    238 MINERAL SPRINGS DRIVE
                    LEXINGTON SC 29073-8167


                    TRANSWORLD SYSTEMS
                    PO BOX 15095
                    WILMINGTON DE 19850-5000


                    TRIUNE TECHNOLOGIES, INC.
                    PO BOX 78175
                    GREENSBORO NC 27427


                    TYCO INTEGRATED SECURITY LLC
                    3243 SUNSET BLVD
                    WEST COLUMBIA SC 29169


                    TYCO INTEGRATED SECURITY LLC
                    C/O LAW OFFICES WILCOX, BUYCK, & WILLIAM
                    PO BOX 1909
                    FLORENCE SC 29503


                    ULINE
                    12575 ULINE DRIVE
                    PLEASANT PRAIRIE WI 53158
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                    ULLOA, ELIZABETH
                    804 GREEN SPRINGS DRIVE
                    COLUMBIA SC 29223


                    UNITE U TECHNOLOGIES, INC.
                    12 PINE CONE DR
                    PITTSFORD NY 14534


                    US BANCORP
                    PO BOX 580337
                    MINNEAPOLIS MN 55458


                    WE LIVE FOR SATURDAYS
                    PO BOX 1788
                    TUPELO MS 38802


                    WHITLOCK, RAYMOND
                    ATTN: BUSTER WHITLOCK
                    RIVERLAND HILLS BAPTIST CHURCH
                    201 LAKE MURRAY BLVD
                    IRMO SC 29063


                    WILDCAT/RETRO BRANDS, LLC
                    1415 EMERALD ROAD
                    GREENWOOD SC 29646


                    WILKERSON & ASSOCIATES
                    222 MAIN STREET
                    STUTTGART AR 72160


                    WINDSET CAPITAL CORPORATION
                    C/O JOSEPH F. DAVIS
                    PO DRAWER 730
                    SUMTER SC 29151


                    WINDSTREAM
                    5135 SUNSET BLVD UNIT J
                    LEXINGTON SC 29072


                    WINDSTREAM COMMUNICATIONS
                    C/O THE LEVITON LAW FIRM LTD
                    3 GOLF CENTER, SUITE 361
                    HOFFMAN ESTATES IL 60169
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                    WLTX-TV
                    6027 GARNERS FERRY ROAD
                    COLUMBIA SC 29209


                    WMFX-FM
                    1900 PINEVIEW ROAD
                    COLUMBIA SC 29209


                    WORLD'S GOLD & DIAMONDS, INC.
                    C/O ROBERT J. MACKAY
                    PO BOX 7031
                    PASADENA TX 77508


                    WORTHY PROMOTIONAL PRODUCTS
                    PO BOX 240490
                    ECLECTIC AL 36024


                    WRIGHT EXPRESS
                    97 DARLING AVE.
                    SOUTH PORTLAND ME 04106


                    WWDM
                    1900 PINEVIEW ROAD
                    COLUMBIA SC 29209


                    YOUTH MONUMENT
                    3750 SOUTH BROADWAY PLACE
                    LOS ANGELES CA 90007


                    ZEPHYR GRAF-X
                    PO BOX 304
                    STILLWATER MN 55082


                    ZERO GRAVITY PROJECT LLC
                    C/O JERRY REARDON
                    1722 MAIN STREET
                    SUITE 302
                    COLUMBIA SC 29201
